           Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 1 of 42



            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                CIVIL DIVISION

DONALD T. SNEED AND
ESTEE ANN SNEED, Husband and Wife                                               PLAINTIFFS

VS.                          CASE NO. 35CV-16-451

DISCOVER BANK,
HENRY"GUS"ALLEN,AND
LORI E. WITHROW, individually and
d/b/a ALLEN & WITHROW,
ATTORNEYS AT LAW,
and John Does 1-10                                                         DEFENDANTS

                                AMENDED COMPLAINT


      Come now Plaintiffs, Donald T. Sneed and Estee Ann Sneed, husband and wife,

by and through their attorneys, Baim, Gunti, Mouser, and Worsham, PLC, and for their

amendment to the Complaint filed herein, states:

      1.      The Plaintiffs reassert each and every allegation contained in their original

              Complaint, but by scrivener's error Plaintiff's attorney failed to file and

              attach exhibits to the original Complaint filed August 2, 2016.

      2.      That the District Court Complaint filed September 24, 2013 is attached

              hereto and incorporated herein as Exhibit "A".

      3.      That a November 12, 2014 letter from Defendant enclosing the Writ of

              Garnishment is attached hereto and incorporated herein as Exhibit "B".

      4.      That an Order setting aside the Default Judgment and resulting Writ of

              Garnishment on November 17, 2014 for insufficient service of process is

              attached hereto and incorporated herein as Exhibit "C".

      5.      That a February 12, 2015 letter from Defendant and~ notes from Mr.
                                                                          '~lll[~IDJ~
            Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 2 of 42



               Sneed's attorney is attached hereto and incorporated herein as Exhibit

               "On.

       6.      That a copy of the Writ of Garnishment filed August 28, 2015 is attached

               hereto and incorporated herein as Exhibit "E".

       7.      That Defendant's discovery requests sent November 2, 2015 are attached

               hereto and incorporated herein as Exhibit "F".

      8.       That a copy of an Order of Dismissal entered December 10, 2015 is

               attached hereto and incorporated herein as Exhibit "G."

      WHEREFORE, PREMISES CONSIDERED, Plaintiff reasserts each and every

allegations made in the original complaint, prays for all of the relief previously stated

herein, and requests that the Complaint be amended and exhibits are incorporated and

hereto attached and for all other relief which the Court deems proper.



                                                                  Respectfully submitted,

                                                                            PLAINTIFFS
                                                          Donald T. and Estee Ann Sneed


                                                    By:
                                                          Uk~~.b.{      Attorneys at Law
                                                                 BAIM, GUNTI, MOUSER
                                                                     & WORSHAM, PLC
                                                                          P.O. Box 5100
                                                                    Pine Bluff, AR 71611
                                                                         (870) 534-2941




                                        Page 2of3
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                              CERTIFICATE OF SERVICE


       I, William Kirby Mouser, attorney for the Plaintiffs herein, do hereby certify that I
have served a true and correct copy of the foregoing pleading on Gary J. Barrett, 12410
Cantrell, Suite 100, Little Rock, Arkansas 72223 , n this I~ day of August, 2016.




                                       Page 3 of 3
          Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 4 of 42
                                                                                                         EXHIBIT

                                                                                                    IA
               lN THE DISTRICT COURT OF JEFFERSON COUNTY, AR.KANSAS
                                PINE BLUFF DlVISION II

DISCOVER BANK                                                                                        PLAINTIFF

v.
DONALD T SNEED                                                                                      DEFENDANT

                                               COMPLAINT

        Comes the Plaintiff and for its cause of action against the Defendant, states:

        l. That the Plaintiff is a corporation authorized to bring this action under Ark. Code Ann. § 4-27-
1501.

        2. That the Defendant is a resident of Jefferson County, Arkansas.

        3. Jurisdiction and venue are proper in this Court.

        4. That Defendant purchased certain items with extensions of credit obtained on his/her Discover
Card account. Please see attached exhibit A, the cardmember agreement which governs the terms and
conditions of the account.

        5. That the amount past due on said account, which has not been paid, and has been owed for a
period of time is as follows, principle amount, $3,493 .14, as set out in Plaintiffs Affidavit which is attached
hereto and incorporated herein by reference.

        6. That demand had been made for the payment of same, yet the balance remains unpaid.

         WHEREFORE, Plaintiff prays for Judgment against Defendant in the amount of$ 3,493.14, for all
costs herein paid and expended, for post-judgment interest at the contract rate, reasonable attorney's fees, and
for all other proper relief.


                                                    Allen & Withrow
                                                    Attorneys at Law
                                                    P.O. Box 17248
                                                    Little Rock, AR 72222




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S&A File No. 13-03726-0
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                   Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 5 of 42



Teaven J Stamatis                                                                           S&A File No. 13-03726-0 ·""
$3,493.14
Donald T Sneed


STATE OF OHIO
COUNTY OF FRANKLIN


                                                AFFIDAVIT OF ACCOUNT

        stEetlhJ R BtlLL                      , personally appeared before me, this day and after being duly sworn, according
to law, upon my oath and states as follows:

I am a Ll~Ji9..\.~·ut~14't1 for DB SERVICING CORPORATION, the servicing affiliate of DISCOVER BANK, an
FDIC insured Delaware State Bank. DB SERVICING CORPORATION is responsible for, amongst other things, maintaining
account records pertaining to Discover Card accounts and interacting with Discover Card account holders with regard to
payments owed on those accounts.

THAT this affidavit is made on the basis of my personal knowledge and in support of Plaintiffs suit on account against the
Debtor(s).

THAT, in my capacity astA~lt1n')r~,\ ~~;Jlm I have knowledge regarding, and access to, records regarding the Discover
Card Account of the above referencea Debtor(s). DB SERVICING CORPORATION maintains these records in the ordinary
course of its business, and the records are updated with information on events (such as charges and payments on the Account)
by individuals with personal knowledge of those events or by automated processes that track such events at or near the time
that the events occur. The same systems that records this information also generate periodic statements that are sent to Account
holders, such as Debtor(s}, and store copies ofthese periodic statements. In addition these same record-keeping systems contain
information about which version ofDiscover Bank's terms and conditions have been communicated to a carclholderand accepted
by a cardholder through the carclholder's use of his or her Discover Card after receipt of the terms and conditions. I have
personally inspected the records pertaining to the Account of the Debtor(s), including the last periodic statement sent to the
Debtor(s) by DB SERVICING CORPORATION, to ascertain the applicable terms and conditions, the balance due on said
account and whether the Debtor(S) have made payments on that balance. The balance due and owing at the time of the signing
of this affidavit, on the account of Donald T Sneed is $3,493.14, including interest accrued at the rate of0% after charge off
unless and until pre-judgment and/or post-judgment interest is awarded by the court.

THAT the account is in default because the Debtor(s) have not paid the amounts due and owing to Discover Bank on the
account

THAT the business records maintained by DB SERVICING CORPORATION and described above show that the Debtor(s)'
account with Discover Bank is    2.°3-J1ed
                                        by terms and conditions referred to by Discover Bank and DB SERVICING
CORPORATION as "terms level          ."A true and correct copy of these terms and conditions have been provided to DB
SERVICING CORPORATION's counsel in this case.

THAT Exhibit A is a true and accurate copy of the most recent statement se~~.l::,iE ~ORATION the
Debtors(s), retrieved from the record-keeping system described above.     JC- .A.. _._,

That Exhibit B is a true and accurate copy of information retrieved from DB SERVIC~<JUanON's record-keeping
system that shows the current balance due and owing on the Debtor(s) 's account0~A~fifh~'ftfl~~~f B differs from
the balance shown on the last statement attached as Exhibit A because Exhibit B re~ 'deJ~ with respect to
the account after the last statement was created.                                  Oll\fF BLUFF. AR
                   Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 6 of 42



DB SERV[CJNG CORPORATION has access to a system ofrecords maintained by the United States Department of Defense,
which allows DB SERVICING CORPORA.TCON to ascertain whether a particular person is engaged in active duty in any
branch of the U.S. military. lt is the regular practice of DB SERVICING CORPORATION to query this system with respect
to any account holder prior to initiating a collection action against that account holder, and DB SERVICING CORPORATION
maintains records in the normal course of its business that indicate the results of that query. Based on my review of the account
records applicable to Debtor(S), to the best of my knowledge and belief the above referenced Debtor(s) is not engaged in any
of the military services of the United States. Further, according to the records maintained by DB SERVICING CORPORATION
, which include the address associated to which account statements are sent to a cardholder, the Debtor(s) is a resident of the
State and of the County in which this action has been filed.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge, information, and belief.




                                                                                        AFFIANT

SUBSCRIBED AND SWORN to before me thi&              4 day o~~Ol3.
                                      ~.!Jh.A~

                                                                                        JANICE M. DORR
                                                                                      Notary Publlc, State of Ohio
                                                                                       My Commission Expires
                                                                                             May17,2014
  Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 7 of 42
                                    New Balance           Minimum Payment Due         Account '      '>er 9nding
                                    $3,511.08             5893.00                     Enter Am        ~nclosed Below

                                                          Payment Due Date
                                                          Soptember 13, 2012
                                                                                   Please make check payable to Discover Card.
                                                                                   You are overlimit. P>1)1 the sum of the monthly
                                                                                   m1n1mum payment plus lt.e overlimit amount of
                                                                                   $511 08

      DONALD T SNEED
     1605 DISCOVERY DR
     WHITE HALL AR 71602-8782


                                                                       PO BOX 71084
                                                                       CHARLOTTE NC 28272-1084
Address, e-mail or telephone change?
Go to www.DW:over.com or print change in space above.



    00000198645037596467~035110800098000089300



Opening Date: July 19, 2012 - dosing Date: August 18, 2012                                                        page 1 of 2
                                                                   .-~~~~~~~~~~~~~----~~~~--.

 Discover More Card Account Summary                                 Payment Information
                                                                    New Balance                                           $3,51 l.08
                                                                    Minimum Payment Due•                                    $893.00
 Account number ending i                                            Payment Due Date                              September 13, 2012
 Previous Balance                                    $3,514.93      'Includes past due amount oF $773.00
 Paymenb And Credit:.                                    98.00
 Purcha.93                                    +           000       lats Payment Warning: lfwe do not receive your minimum
 Balance Transfars                            +           0.00      payment by the date listed above, you may have to pay a laile
 Cash Advances                                +           0.00      fee of up to $35.00 and your purchase and balance transfer
 Fees Charged                                 +          35.00      APRs- for new transactions rtltl}' be increased up to the Penalty
 Interest Charged                             +          59.1,5     APR of2A. 99% variabl&.
 NewBOlance                                          $3,5H.08
                                                                    Miniinum Payment Warning: If you make only the minimum
See Interest Charge Calculation section following                   payment each period; you will pay more in interest and it will
transactions for detailed APR information                           lake yot.rion919r to pay off your balance. For example:
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 Credit Line Available                                  $0.00
 Cash Advance Credit Line                             $300.00
 Cash Advance Credit Line Available                     $0.00

 You may be able fo avoid Interest Charges. see Additional            Only the minimum            10 years                $6,442
 Important Information fordetai!..                                        payment
                                                                    If you would like !f'lformation about credit coun•eling ~ervices,
 Cashback Bonus&                             Anniversary Month
                                                                    call 1·800.347.1 I 21 .
                                                       October
 Opening Casbback Bonus Balance                           0.00
 New Cashback Boni!$ This Period                +         0.00
 Cash back Bonus- Balance                                 0.00
 To leam mare, log in atwww..Ohlcover.com



 3 Easy Ways to Contad Us                                           Manage Your Account Online atwww.Oiscover_com
 1. Access your account securely at www.Discovv.cam                     Access iree online tools like Paydown Planner to create a plan
 2. Call l-800.QISCOVER (1-800.347-?6831                                to pay down your balance, securely access slat8ments, pay
     ?lease have your Discover<!I card availab e.                       bills online and easily track all transactions
 3. Write to us atDi•cover, PO Box 30943,
     Salt Lake City, UT 84130 (Not a payment address}                   Make your money worth moreSM -Rnd easy ways to earn
                                                                        and redeem cash rewards
 For payments, please sand to address on remittance or
 Discover, PO tfux 6103, Carol Siream, ll 60 197-0 103                  MEW I Access your account securely through your
 For TDD (Telecommunications Device for the Dea~                        mobile phone
 auistance, please call 1-800.347-7449.


Transactions
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                                                      TOTAL FEES FOR THIS PERIOD
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                                                      INTEREST CHARGE ON ?lJRCHASES                            JEffERSON COUNTY
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                          Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 8 of 42

 Department of Defense Manpower uata Center
                                                                                                                                                         SCRA 3   o



                        Srarus Report
                        Pursuant to Se.n.·icemembers Civil Relief Act


last Name: SNEED
First Name: DONALD T
Middle Name:
Active Duty Status As Of: Apr-08-2013



                  NA




                  NA



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Upon searching the data banks of the Department of Defense Manpower Dara'Gantaf; based on the information that you provided, the above is the status of
\he individual on the active duty status data as to all branches of the Uniformed Services (Army. Navy, Marine Corps. Air Force, NOAA. Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders   to report for Active Duty.
HOWEVER, WITHOUT A SOCIAL SECURITY NUMBER, THE DEPAATMEMT OF DEFENSE MANPOWER DATA CENTER CANNOT AUTHOAITATIVELY
ASSERT THAT THIS IS THE SAME INDIVIDUAL THAT YOUR QUERY REFERS TO. NAME AND DATE OF BIRTH ALONE DO NOT UNIQUELY
IDENTIFY AN INDIVIDUAL.




Mary M. Snavely-Dixon, Director
Department of Defense - Manpower Data Center
4800 Mark Center Drive, Suite 04E25
Arlington, VA 22350




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Transactions
                      Trans.         Post
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                                            TOTAL INTER.EST FOR THIS PERIOD                            59.15

2012 Totals Year-to-Date                                                                     $   280.00
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Questions?      Visit www.Discover.com or
call 1-800..DfSCOVER (1-800-347-2683).                                                   DISCeVER
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                                                             llpay>IO                  DONALD -       •EEO
                                                                                       Account r       1r ending ir
                                                             DISCOVER'
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Interest Charge Calculation
Your Annual Percentage Ren (APR) is the annual interest rate on your account.
CumHlt Billing Period: 31 days

lYPE Of BAlANCE                           ANNUAL PERCENTAGE                  BAl.ANCE SUBJECf TO                INTEREST OIAIGE
                                          RATE (APtl                         INTEREST RATE
Purdtases                                 19.99%    v                        $3,483.60                          $59.15
Cash Advances                             23.99%    v                        $0                                 $0
V   =Variable Rate
Additional Important Information
See your Canlmember Asi--L Your Catdmember Agreement canlains all the hlrrns of your Account.
Lost or sllllen cards. Report immecliahllyl Call l-800-347-2683.
Wltot To• If Yau lhink You find A Mmokc On Yeur Stafement
If you think lh- is an error on your slal9ment, write to U$ at: Discover, PO Box 30421, Salt Lake City, UT 8.413().()421.
In your lelhtr, gi'le 111 lhe following information:
         Ag:ount jo{prrnqtj90· Your name and account number.
          Dollar gmquat The doUCD' amount of lhe susped9d error.
          P,..,,rip~pa of Pmbl11trr If you think !here is an error on your bill, describe what you belie'le is wrong and why you believe
         1t rs a mistake.
      You must contact 111 within 60 cloys after the error appeored on your slalement.
      You must notify us of any ~ntial errors ilumli!Jg, You may call us, but if you do we are not raquired to inwsligate any
      pohlnlial-errors and you may have to pay !he amaunt in question.
      While we invesligale whether or not there has been an error, lhe following are lnle:
         We cannot hy to collect the amount in question, or report you as delinquent on !hat amount. .
         The charge in question may remain on your slalument, and we may continue lo charge you inteNst on that amount. But, if
         we dehlrmine diat we mQde a mistake, you wiU not have lo pay the amouat i~. question or any inhlrest or other Fees relal9cl
         to !hat amount.                                                                        · · • ..          ·..        ·..
         While you do not have lo pay the amount in question, you are r9$ponsible ia.- lhe remaincler ofyour bal!mce·
         We can apply any unpaid amount ogainst your credit limit.                           · .. · · · · · · . . . ... .      /
Your IWtfs If yqu Am Ditrtuditliml W1fft Your Credit Cwrl Pvn:bqgK                               ·.                       ··-·
         If you are dissatisfied with the aoocb or services that you have.P'!rchased with.your i:reditc:ard, and you have lried
         in good l'aith to correc:t !he pro"blem wilh Iha merchmit, you may-have~ right not lo ~the remaining amount
         due on the pun:hase.                                        , ..         ·.                ·.      ,
        To use !his right, all of the following must be lrue:, '           ·,_ . ··         ·. ..  · ·./ ·
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            check that CICCesses your crecfit card.acc:ou,,t c» _not quali~             · :-.
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            investigation, we wil[t911.you oilr. _decision. At that point, ifwe think you owe an amount and you do not pay we
            may report you CIS ,cfOlincpsnt.      ..       '.~
P~. You may riat cilf or par! of )'Ol!r Account bcilance at any lime. However, YO!} must pay at least the Minimum
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~eived at OUc ~ing ~!lily after 5PM local time will &. c:recliled lo your Account as of !he neilt t!ar. If you have
misplaced your~. send }'OU! payment to Discover, PO Box 6103 Carol Stream, ll 60197.0103. Plecise allow 7-t 0
ckrYs far delivery. If your payment is 'refurned unpaid, - reserve !he rigfrt to r'e$Ubmit it as cin eleclronic debit.




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NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                                           DISCeVER
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You can = r monthly Minimum Payment Due, or a greater amount that does not exceed your current Account balance,
over the fel8c ne or you can setup automatic ~lh~ a customer service representative by calling
1.S00.347. 683. Aulomalic paymenb will be d8clucted on llie Payment Due Ocie unless }'9U ~·st a recurring eaYftl&nt
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to schedule monthly P.CIY"!enls bY t91ephone, you will need this slalement ancf your bank account infarmalion. You wiU be
asked to provide Ilia last !Our [4) ~gils of the social security number of the primary borrower. By ~ding those numbers as
)IOl!r electronic signature, }'9U will be agreeing lo this authcirizalion to allow us anti your bank to clacfuc:t each payment you
authorize, in the amount seledad by you, lioiii your bonk occ:ount. You also outhor1a us lo initlahl debit or ci'adit entries lo
your bank occ:ount, as appgcable, to correct an error in the pto!;essing of such P51)1!11ent. You can cancel a scheduled
payment by J>ho!le at 1-800.347-2683 or 9)f mail at Discover, PO Box 30421, Smtl.ake City, UT 84130-0421; however we
must receive notice at least three business dciys in advance of the scheduled pay!!!ent. If your PQY.menls may w:iry in amount,
we wiU tell~ on eoch monthlvbilling slatementwhen your P'?Y"'entwill be mOcle ond liow muCh it will be. You must ensure
that sufficient IUnds ore avoilable in your bank account, and all transactions must comply with U.S. law.
You can sat automatic pq)l!llenb for: (ii slatement New Balance, [ii) statement Minimum Payn_ient Due, eii) s!Q18ment Minimvm
Payment Due Illus a Axed i:lollar amount, or fivl a Axed dollar amount. If your scheduled Axid ~ant 1s not enouah lo CO'l&r
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Balance on your billing statement, that payment will be processed onlv for Ilia amount ofyoilr New Balance. Your automatic
f1C!1Y111ent amount may be less than the amount indicahld on the periodic statement based on credits or payments afhtr the
Closing Dahl.
If you enroll bv. phone in our aulomalic payment service, please All-in the following blanks below ond retain the QU!fiorization
foi your recarili.
Amount:     0     Full Pay     0   Min Pay              0
                                                        Min Pay+$                             0 Fixed PayS_ _ _~
Bank Routing #:                              · Bank Account#:                                    · Frequency:_ _ _ __
Crecfit Rooorting. We may report information about your Account to credit bureaus. I.ala ~enls, missed payments, ar
other defaults on ~r Ac:Count may be raffected in }"?Ur credit report. We normally report lh8 status ond ~ant hisrory of
your Account lo cfed"rt rapoct!~ agencies each month. If Yt:>1J believe that our report is inaccurate or incomplala, please "'Irita
us attha following oddra#: D1SCOYaT, PO Box 15316, Wilmington, DE 1985().5316. Please indicczte your name, addreSs.
home telephone number and Ac<:ount number.
~g ~ We beain to impose interest chqrgas on a transaction re. or interest chmg9 frcim-the Jot- add it to the
daily balance. We conllnua to im~ interest charges until you pay the lolaf amount:p·owe us. You can avaid paying
interest on Purchases as described below. H~r. you cannot avoid paying interest on BalanciTianslim !)!'Cash ·
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will nat impose interest~ on new Purchases1 or arry poztion of"a new Purchase, paid'by "'-'Payment Due Dale on )'Ollr
currant bi!Hng slatement. New Purchases ore Purcnases   ll1Clt Arst Clppa<I\" on Iha currant .billing Wtemant.
How :wa Apply P~ Mgy 1mpqct '(,uu:..Gmca Pori~ (                      ·. :               ·.•. ' •
If youdO not pay your New Balance in riliieachfTionth,llien, da9"ndin9.,on the balancwtO which we apply your payment,
you may not get a grace period on new Purchases.         ..       ·            --- · · ·--- '
Haw W• Calculal. !ntwost damps·~ aab-~~S-Clllnnf trwi~s): We calculate interest~
aoch biUilJJ P!IJ"iod by Ant Aguring the •ddfly ~· ~r ecich TranSGctloiiCatagory. Tronsadion Categories include
stanclczrd PUichases, stanclara CaSh AcMJncarCinctdilrerflllt proinollonal balances, suCh as Balance Transl8rs.
Haw W. fis-the Doily llalancefw ~ T~ ~ory "·.. ,· ,-
         Wo Wrt wilh the ~'l!"Qg..~ for ~ dliv. The ~giniiing bolonce for the lirst clay of the billing period is
        your balance on the JoSt ct;''Of your fl!'.8'110US:~mng panocf.
        We add any interest chcuges !*jC{U8d Oft. the pnwious ~s doily bolcznc:e and arry now transac:tlons ond fees. We
        add~ n-traNacti~ or faiis as of the.later of!Jie Transac:tion Ocita or lhe Arstclay of the billing period in
        which fhe lransclcllon cir.-~ your Accou(lf.
        We sublrac:t any -     credits andpayments. · ··
        We mc;ike other adjdstrnents (ri:lctuc1ing1li0se adjustments required in the "Paying lnhlresl" section).
"-W•fitl-YourTCICiilktai.tCli.,,                      '
      We rnullipiythe ddilv balailc. for aadrTransaction CatagorY ~its doily =crate. We do this for each Jot in
      the biOing Padocl. ·This gives tll the. Interest ch~ for aOcli Transaction         ry. To gata daily periodic ralu,
     - c:lividi.!he APR that iipplies b the Transac:tion Calagory by 365.
      We acid up..._lhe daily inierast charges. The sum is the total interast'charge for the billing period.
H-w.1nc1ucri. r..s . ·· ... _.,. "
Wo add Balance Transr9rFees to the CIDDlicable Balance Transfer Transaction Calaiiory. We odd Cash Advance
r..:!J'!  =.~·Advance frGnsaction Ccztagory. We add all othar fees1o the standard Purchase

w-       Subpct t. lntarest Rai.. Your slatement shows a Balance Subject to Interest Raia. It shows this for each
lfar!S=tlon CCll8gory. The Balance Subject lo Interest Rczte is the average of the daily balances during the billing
penod.
Cnidit Bal-. If your Ac<:ount has a credit balance, the amount is shown on the front of yoyr billi1!9 slatemant.
A credit bolcrnce is money that is owed to you. You m!JY make charaas against this amount if your AC:count is
open. We will senc! yoy a reli.Jnd of any remaining balance of $1.00 or more after 6 months, or as oth-isa
required by applicable law.
Far TOD (r.lacommunications ~ fw the o..Q assistanm, plea.. call l-800-347-7449.
~~~'."°1 monilor and/or record telephone calls between you and Disc:ovar representatives for ~LE                                      .n
The Discover ti card is issued by Discover Bank, Member FDIC                                                              llZNF8Xll


                                                                                                                     SEP 24 2013
                                                                                                         DISTRICT COURT C•VISION f
                                                                                                            JEFFl:RSON COUNTY
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Questions? Visit www.Discover.com or
call 1-800-DISCOVER (1-800-347-2683).                                                                        DISCeVER
 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 12 of 42
                                      New Balance             Minimum Payment Due         Account ~·     'er ending in
                                      $0.00                   5964.00                    Enter Ame       .nclosed Below
                                                              Payment Due Date            $
                                                              Sep11>mb.t 26, 2012             .___ _ _ _ _ _ ___.




     DONALD T SNEED
     1605 DISCOVERY DR
     WHITE HALL AR 71602-8782


                                                                          PO BOX 6103
                                                                          CAROL STREAM IL 60197-6103
Address, a.mail or telephone change?
Go to www.Dbcowr.com or print change in space above.



   000001986450375964676000000000000000096400


Opening Date: August 19, 2012 • Closing Oaf&: August 31, 2012                                                        page 1of2
                                                                      .--~~~~~~~~~~~~~~~~~~~---.




 Discover More Card Account Summary                                     Payment Information.
                                                                        New Balance                                              $0.00
                                                                        Minimum Payment Due                                    $964.00
 Account number ending 1n.                                              Payment Due Date                             September26, 2012
Previous Balance                                         $3,511 08      I.ale Payment Warning: tfwe do not receive your minimum
Payment.1 And Credits                                     3,511.08      payment Soi< the date-listed. above, you may !lave to pay a lale
Purchases
Balance Transfi!rs
                                                +             0.00      fi!e of up 1o $35 .00 and your   purcha. and balanca transfitr
                                                +             0.00      Al'Rs for oew transadidm may be increased up to !tie Penalty
Cash Advances                                   +             0.00      APR of 24.99% variable.
Fees Charged                                    +             0.00
lnhtrest Charged                                +             0.00·
New Balance                                                 $6.00
                                                                        Manage Your A~unt Online at www.Disawer.com
See lntarest Charge Calculation section following
                                                                           Securely accilu slalament.1 and &ee online tools, par. bills
lransaclions for detailed APR information                                  onlin1J-and tracR and view all transactions simply Oni:I easily
Credit Line                                              $3,000.00         Make you~tn'onay worth moreSM-flnd easy ways IO earn
Credit Line Available                                       $0,00          and'i;,deem cash rewards
Cash Advance Credit Line                                  $300.00          NEW! Access your account securely through your
Cash Advance Credit Line Available                           $000          moGile phone

                                                                        3 Easy Ways to Contact Us
 Cashback Bonus"                                                        1. Access your account securely   at www.Disc-.i:om
                                              Annive=ry Month           2. Call 1-800.DISCOVER (1-800.347-26831
                                                      October               Please have your Discover® card available.
 Opening Cashback Bonus Balance                      $        0.00      3. Write to us at Discover, PO Box 30943,
                                                                            Solt !.oke City, UT 84130 (Not a payment addn=j
 New Cashback Boriu~ Trus Period                     +        000
                                                                        For paymenb, please send to address on remittance ar
 Cashbadc Bonus llalcmc•                             $        0.00      Discover, PO Box 6103, Carol Slream, IL 60197-6103
 To lttam rnore, log in otwww.Discover..com                             For TDD [Telecommunications Device For the Deaf)
                                                                        assistance, please call 1-800-347-7449.


Transactions
                                 Trans.       Post
                                 Dai.         Data
Paymems and Credits              Aug 3 1      Aug 31      INTERNAL CHARGE.OFF                                           $ -3.511.08
                                                          TOTAL FEES FOi THIS PERIOD                                               0.00
                                                          TOTAL INTEREST FOR THIS PERIOD                                $          0..00

2012 Totals Year·to-Date
                                                          TOTAl FEES CHARGED IN 2012                                    $        280.00
                                                          TOTAL INTEREST CHARGED IN 2012                                         449.31




                                                                                                                      SJ!? 2 4 2013
                                                                                                                            COURT DIVISION :
                                                                                                               JEFFERSON COUNTY
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NOTICE· SEE REVERSE SIDE FOR iMPORTANT INFORMATION
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Questions? Visit www.Oiscover.com or
call 1-800-DISCOVER (1-800-347·26831.               DISCeVER
      Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 14 of 42
                                                                II pcl)'S lo              DONALD T       'EEO
                                                                                          Account n        t ending i
                                                                DISCOVER',
                                                                                                                        page2 of2

    Interest Charge Calculation
    YotJr Annual Percentage Rate (APR) is tha annual inlutest rate on your account.
    C!irront Billing Period: 13 days
    TYPE OF BAIANCE                           ANNUAL PERCENTAGE                 llAIANCE SUBJECT TO                INTEREST CHARGE
!                                             RATE (APRJ                        INTEREST RATE
    Purchasos                                 19.99% v                          so                                 so
    Cash Advances                             23.99% v                          so                                 so
    V = Variable Rate

     Adcfdioncd lmpartant lnformatm
     See your~ Asi--t. Your Cardmember Agreement contains all the terms of your Account.
     I.cm or stalen cards. Report immediahtlyl Call 1-800-347·2683.
     Wb4t Tq Do If You Think You Find A Mimrke On Your SPglMlent
     If you think thare is an error on yow slatamant, writv lo us at: Discover, PO Box 30421. Salt Laka City. UT 84130.0421 .
     In your letter. give us the following information:
               Aecouat irrfwmglfon· Your name and account number.
               Do/lqc qmouot: The dollar amount of tha suspected error.
               Descr;pt;qa of Problw· If you think !hare is an arror on your bill, c:lescribe what you believe is wrong and why you believe
              it is a mistalr.e.
           You must contact us within 60 days after Iha error appeared on )'QUI" sfal8ment.
           You must notify us of any pohintial errors in.lla:ilirul. You may call us, but if you do we are not required lo invastigal9 any
           pohmtial errors and you may have lo pay the amount in question.
           While we investiga19 whether or not there has been an error. Iha following are true:
              We cannot try lo collect the amount in question, or repolt you as c:lelinquent on that amount.            ·
              The ~ in question m~ remain on your sla!8ment, and we mat continue lo charge you inlanlst on that amount. But, if
              we c:letarmine ffiat we made a mistake, you wiU not have lo pay the amount in question or any inlerd or other f9es relalad
              lo that amount.
              While you do not have lo pay tha amount in question, you are ~ible for tha remaincl:er af ')IOur l:ialanca.
              We can apply any unpaid amotJnt against your c:reclit limit.
     Your llishfs If Yau Are DWathified With Ywr Crcdjt Corri PurchPM.
              If you are dlssatisRed with the gQOds or services !hat you hcmt. ~.rchased wilh your credit card, and you have tried
              in good railh lo correct the problem with tha mercharit, you may have Iha right not lo pay the remaining amount
              due on the purchase.                                             . • •.       ·                  ·
              To use !his right, all of the following must be true: ,, ' ·               .     .          · .
               I . The purchase must have been made in your hoiite sfallt or within 100 miles of your currant mailing ac:ldres:s, and
                   the Pi!rchase prjca must have been more than $5Q'.'° {NOia: Neither ofthaa are nec9SSC!'Y if )'Ol!r purchase was
                   basGd on an advertiement we mailed lo~ , or-ifwa own the company.lhat IOld you th8 gciocls or Mr'lices.)
              2. You must have used your craclitcard for the'~rchcis., Pur~made witttcash advances &om an ATM or with a
                   check thcit -          your craclit carc!,ca:coynt dQ. not qualify.           . . - :r
              3.Youmustnotyathaveli.dlypaid,larlhepuidiase:,..                        ·.. ---~. , ·
                   lfall of the criteria above are «iet ~)llil'! anulill dissatialted with tli8 purchase, contact us io.mifios at:
                   Discover, PO Box 30945, Scilt ~ City;1UT ~ l 3~.45                      .
                   While we inveatigal!, the same ruleS-=iW lo IJ.e disiiuhid amoUnt as discussad above. Ahr we finish our
                   investigation, we will 1911..you oar c:leciSICn'. Af that p0int, ifwe think you owe an amount and you do not pay we
                   may report you as dlili11q1J9nt. ·               /
    ~ You m!2'f pay all~ P91!" of ~ur A~unt barance at any lime. However, you must pay at least the Minimum
    Payment Due by th8 P~ent cue Oat9.- "Send ~ your P.O)'lllant and the lop portion of this slalament in the envelope
    provicfac:I. Do not sencf:$=0Sh. Ill saading your chectc as i:lflcribed .~! ~u ~~ize us lo use information on your check
    lo make an electronic: fund lranslilr•&om rour account at !he Rnanc1al institution indicated on your chedc or lo P.foc:ess the
    r/CIYll)ent as a checlc tTansadion. If payment is ~ as an electronic l'uncf lransl'ar, the transl9r will be for the amount of
    the check. When w8 use inlOrmaliort-ITom your check lo make an eledronic fund transfer. funds !110\' be withdrawn &om your
    account as soon as tha same cfay we fic:erve your payment, and you will not raceive your checlc back &om your financial
    institution.                             ,         ·
    The p!'.04:essi119 .of yo4jr pafinent m~be delayed if you 'end cash, corresponc:lence or other itams with your fXJYll!ent, if you
    send thli paymeint lo any Olber acfdrisi or if you use an envelo~ other than the one provided. PCJY.!n.enfs receiVad in proper
    form at our. processing. raci·1_itY"hY'SPM local lime on any dav will be credilwd lo your Account as of that day. PCl)ll!lenla
    racaiwd at Olll" proc,..u.a rQcllily ~ 5PM local time will &a credilwd lo ~r ,4.ccount as of tha next~- If you have
    mi~echour envelope, send. your payment lo Discover, PO Box 61 O~l.Carol Slraam, IL 60197-6 l 03. Please allow 7-10
    cbjs for deliwr}i: If yourflGY'llent is returned unpaid, we r&MNe the risrn lo resubmit it as an elactronic: debit.
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                                                                                                                 SEP 24 2013
                                                                                                      DISTRICT COURT DIVISION I
                                                                                                           JEFFERSON COUNTY
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    NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION
                                                                                                               DISCeVER
Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 15 of 42



You can ~~ur monthly Minimum Payment Due, or a greater amount that doe$ not exceed your current AccOUllt balance,
over the felGt: Ol18 or you can sehsp automatic ~enls lhro'!Sh a customer service representative by calling
 1-80().347- 683. Aulomcdic payments will be deduc:ted on the Payment Due Dot& unless )'9U ~est a rec:ultjng ~t
dais (e.g., the 151h 4CIY of the month) lhczt occurs before )'9Ur P!lY"'ent Due Dale. If yt:>Ur sChedulOd P,CIYl'!lent dai falls on a
weekena or bank holiday, your pGY.ment will be processed the bilsiness day prior to !he weekend or bcink holi~. In order
to schedule monthly P.tJYll!enls br 18leohone, you will need this stat.ment and your bank account information. Y01J will be
asked !a provide tfie laSt four (4 digih of tlie social security number of the primary borrower. By providing those numbers as
your elec:lronic signature, )'9U will lit agreeing to this authOrization to allow us and your bank to deduct each payment you
authorize, in lhe amount s8lecled by you, &om your bank account. You also authorize us to inifialll debit or r:fedit entries to
your ban!C account, as aDPlicable, to correct an error in lhe processing of such P51Y,111ent. You can cancel a scheduled
payment by phone Cit 1..$00.347-2683 or ?Y mail at Discover, PO BOx 30421, Salt Lake City, UT 84130.0421; however we
mli# receive notice at least three business dc:iys in advance of the scheduled fXIYll!ent. If your payments may VfJl'f in amount,
we will tall ~ on each monthlv billing statement when your P!ilY'ftent wiU be made and liow muCh it will be. You must ensure
that sufficient funds are available in your bank account, and Gii transactions must comply wilh U.S. law.
You can set automatic pcmnents for: Iii slalament New Balance, [iii slalament Minimum Paya,ent Due, ~ii) slal8ment Minimum
Payment Due Illus a Rxild dollar amount, or fiv) a fixed clollar amount. If your scheduled lixild ~ent 1$ not enauah lo cover
the Minimum l>ayment Due as limid on }'Ol!r m~ biOing ~ment, your scheduled ~ent ICr lhczt month will Eie
increased lo cover lhe Minimum Payment Due. If lhe scheduled payment is greater than die Minimum Payment Due, any
excess will be api:ilied in accordance with your Cardmember Agreement. Ifyour scheduled payment is sreah!t: lfian lhei N-
Balance on your billing statement, !hat payment will be ~ onlv for tlie amount of yoiJr New Balance. YOAJt automatic
P-9Y1nent C11mount may be less lhal1 the amount indicated on the periodic stalllment based on credits or payments aftw lhe
Closing Dale.                                                                                                   ·
If you enroll bY. phone in our aulomalic payment service, please fill-in the following blanks below and relain the "authorization
lbr your rec::orm.                                                                                                  .
Amount:     0     Full Pay    0     Min Pay           0      Min Pay+ $                     0    Fixed Pay$           ·
Bank Routing #:                                   · Bank Account#:                                 ·Frequency:_ _ __
Cntclit ~g. We may report information about your Account lo credit bureaus. I.ah! lx.IY"'enls, missed pa;ments, or
other cfe!aulls on )'Ol!I' AcCount may be reftec:ted in }'9Ur credit report, We normally report the stalus and pav.mi1nt hisloly of
your Account lo cfedit report;~ agencies each moidh. If you believe that our report is inaccur<n or incomplele, please wrt'te
us at the following addreSs: Discover, PO Box 15316, Wilmington, De 198SO.S316. Please indic:al8 Your name, address,
home telephone number and Account number.                                            ·· . . ..                  · .
~g ~ We beain lo impose interest ch~ on a transaction fve ot interest ~ge li'Oinlhe ·day ~.Id it lo lhe
daily &alance. We conilnue lo im~ interest charges until you pay the total C11110unf.yt1U-e 111. You can • d paying
interest on Purchases as described below. However, you cannot avoid.paying inlarest OCl Balance Transfurs.p(Cash ·
Advances.                                                                              ·       .
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i'r~ pGld the N-"8CiiCiftCi on your Pf!VioU$billillg stalllmentby tbe Pciyrnent Duit Dale'shown'Clll that billi~ llalament, we
wiU not impose intarest c:hc:ir9es on n- Purch~ 1 or any p;o.rtion oF ~a-· P.urchaSe, P.CDcfby the Payment Due Dale on your
current billing stalllment. N- Purchases are nsrcMSeS JI= Ii~ appear on the current.billing"Sal8ment.
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lfYOU do not pay your New~@aft'COiflU         each month' then; deeencfing.~n lhe baliJnce to which we apply ywr payment,
you may not get a grace period on new Purchases.              ,      ·           · ·--._                                     .
tt-W. Calcu!Cllllt lnlwest O.arges • Dctfv. l~W~lS!cf!diiig-~ll'Gli~: We calculate ini.est ~
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tt- W• Figv,. the Daily Balance far Esh Tninsaccion d.t.g.y ·.. ,. /
        We start with the begilJ!ll'.nSJ..balarice for each dav. The begin°riing balance for lhe first day of the biUing period is
        your balance on the W cfciYofyoui previous:bilnng period.
        We add any inlarest charg8s acct11ed 0n .the previous <1ay's daily balance and any new transactions and faes. We
        odd !Zl'Y new transactions or  re.s    aa offhe.lal8r oflhe TrcZnaaction Dale or the first day of the billing period in
        which Ifie lrcwaclion or fu& posted-lo your Accounr.
        We sublract any new credits and payments.
        We make other adjustments (lnc!udingthose adjustments required in lhe "Paying lntarest" section).
ff- W. F"9R9 Your Total im-.t O.arp
        W.e mul!ipfy'the dailv balam:e for each Transaction Category !:>Y its daily e_eriodic rah!. We do this for each day in
        the billing iieriod. This gives us the.inl8rest ch~ for eacli Transaction ~ry. To 9et a doily periodic ral8,
        we divica !he APR lhat cipplies IQ the Transaction Category by 365.
        We add up aO the daily inl8rest charges. The sum is the total inlllrest charge !Or the billing period.
tt- W• lnclud. Fees
We add Balance Transfer fees !I) the OPOlicable Balance TransCvr Transaction Calw!:lory. We odd Cash Advance
Fees lo the applicable Cash Advance TrGnsaction Category. We add all other files1o the standard Purchase
Transaction Category: .
Bal- Subject lo Interest Rale. Your statement shows a Balance Subject lo lntarast Rate. It shows this for each
transaction category. The Balance Subj"ct to lntare# Rate is the average of the daily balances during the biUing
period.
Cntclit IW-.. If your Account has a credit balance, the amount is shown on the &cw of YQ!lr billing slalament.
A credit balance is money that is owed to you. You m~ make charaes againatlhil amount if your ACc:ount is
open. We will ~you a refund of any remaining bakince of $1.00 or more after 6 months, or as otherwise
required by applicable law.
For mo (feLicommunications D.vic9 fw th. Dacd) Cluistanco, pr.a. call 1"800{U7·7449.
Discover may monitor and/or record telephone calls between you and Discover represenlalives for quality assvnll'ICe
purposes.
The Discover<Dcard is issued by Discover Bank, Member FDIC



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Questions? Visit www.Discover.com or                                                                           PINE BWFF. AR
call 1-800-DISCOVER (l-800-347-26831.                                                                         DISCeVER
 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 16 of 42
                 New Balance Minimum Payment Due Account N•· -w ending in
                                 ~3.511.08                $3,511.08                    Enter Ame     'closed Below
                                                          Payment Due Date             $I'-_ _ _ ____.
                                                          January 10, 2013
                                                                                  Pleaso make check ~ lo Discover Card.
                                                                                  Minimum jll:lyll'lenf Clu6 includes a past clue
                                                                                  amount of ST, 177.00. Phone cn:f inc.met
                                                                                  ROY"'enls must be made by S:OOpm ET for same
                                                                                  ClaY posting.
    DONALD T SNEED
    1605 DISCOVERY DR
    WHITE HALL AR 71602-8782


                                                                      PO BOX 6103
                                                                      CAROL STREAM IL 60197-6103
Adc:lress, e-mciil or tvlephone change?
Go lo www.Disc-.com or print change in space above.


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Opening Dale: November 16, 2012 - Oosing Dale: 0ec..am_be_r_1..;s,~2_0_12_ _ _..;..._ _.....:.pag~ie-l_of_2_ _....
 Discover More Carel Account Summary                                Payment Information
                                                                    New Balance                                          . $3,511.08
                                                                    Minimum Payment Oue •                                $l;Sll.08
Account number ending ir -                                          Payment Due Dal&                               January 10, 2013
Previous Balance                                   $3,51 l.08       •includes past due am0untoES.1, l77.oO"'·
                                                                    I.cm P~Waming: lfwe do ~~-~~r minimum
Payments And Creclits                                      0.00
Pun:hases                                 +                0.00
Balance Transrws                                           0.00     ~t by the dallt hslecl above, ).Ou ·iila:f "'- lo pay Q lc118
                                          +
Cash Advances                                              0.00     r.ie of up lo S35 .00 and Y!>Ur purchme and balance lransfur
                                          +                         APR$ f!:ir' new. transadions may be i=-ed up lo Iha Penalty
Fees Charged                              +                0.00
ln!arest Charged                          +                0.0(>'   AP!!. of'24.997:i variable.. ·
New BCilance                                       $3,SIU)i
                                                                    Mmiftum P~i.Y.nin~ If~ make orilt the minimum
See !nlerest Charge Calculation section rallowing                   ixiY_ment each Per!oc;t.·You will pay m- in inl8relt and it will
transactions for detailed APR information                           take'you ~-lo ·p.,, olf your balance. For 8lClmlple:
CreclitUne
                                               ~    ·-
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                                                             '
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Cash Advance Credit Line                                  S0.00
Cash Aclvanc:e Credit Une Avail~                          so.oo
                                                                      Only the minimum
                                                                             payment
 Cas         Bon~..                      Anniversary Month
                                           .             October    If you would like information about credit c:aunseling services,
 Opening Cashbac:_k_ Bonus Bal~e               s           Ci.00    call 1.aoo.347-1121.
 New Cashl;iac!c Bonus This Period         . +             0.00
 Cashbadc: ~- w-                               s           0.00
 To loam -   !0e mat-.Di-r.-.


 3 Easy Ways to Contad°lJs                                           Manage Your Account Online atwww.Discovar.com
 I. Access yoUI' account secure~ atwww.Disc-.com                        Access &ea online tools like ~ Planner lo create 1.1 plan
 2. Ca!l l..soo.olSCOVER.(1-800.347.26831                               lo pay clown ~r balance, securely- statements, pay
     Please have your DiSCOYer411 card available.                       bills online and easily track ail transactions
 3. Wrila lo us atDisc0ver PO Box 30943,
     Salt lake Cily, UT 84130 (Not a payment adc:lress)                 Make ~ur money worth moreSM-Rnd msy ways lo eam
                                                                        and redeem cash rewards
 For payments, please send lo address on remittance or
 Discover, PO S'ox6103, Carol Strecrm, IL60197-6103                     NEW! Access your account securely thraugh yaur
 For TDD (TelecommuniCCllions Device for the Oeall                      mobile phone
 assislclnce, please call 1-80().347-7449.

Transactions                 Trcrns.    Post
                             Data       Data
                                                    TOTAL FEES FOR THIS PERIOD                                     s         0.00
Interest diarged                                    TOTAL INTEREST FOR THIS PERIOD

2012 Totals Year-to-Dote
                                                    TOTAL FEES CHARGED IN 2012                                     $      280.00
                                                    TOTAL INTEREST CHARGED IN 2012
                                                                                                             SEP 241913
                                                                                                   OtSTRIC1 COURT DIVISION I
                                                                                                      JEFFERSON COUNTY
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                                         fJISCWftR'R
 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 17 of 42




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                                                              SEP 24 2Df3
                                                        DISTRICl COURT DIVISION I
                                                          JEFFERSON COUNTY
                                                             OINE BLUFF. AR
Questions? Visit www.Oiscover.com or
call 1-800.DISCOVER (1-800.347-2683).                   DISCeVER
  Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 18 of 42
                                                                   It pays lo                   DONALD T ~,,EED
                                                                                                Accountn    ~anding ir
                                                                   DISCOVER"
                                                                                                                              page2of2

Interest Charge Calculation
Your Annual Percenlage Ral9 (APRI is the annual interest ral9 on your account.
Current Billing Period: 30 days

TYPE Of IWANCE                                 ANNUAL PElCENTAGE                    BAIANCE SUBJECT TO                     INTEREST OIAlGE
                                               lATE (APR)                           INTElEST lATE
Purct.-                                        19.99%     v                         $0                                     $0
Cash Advancos                                  23.99%     v                         $0                                     $0
V = Variable Ral9

Additional lmpammt lnfonnation
Sae your Cardmember As-ant. Your Cardmernbar Agreement contains all the terms of your Account.
lost or stalen cards. Report immediately! Call HI00-347·2683.
 Wb4t To Do If You Iftinlc You Eind A Mistcrlce On Your Slcdemcnt
 If you lhink there is an error on your slalement, write lo us at: Discover. PO Box 30421, Salt lake City, UT 84130.0421.
 In your letter, give us Iha following inl'ormalion:
             Aceount informgtjoa· Your name and account number.
             Dollar gmquat: The dollar amount of the suspected error.
            p,.ts~ Pmbltm· If you think th- is an error on your bill, describe what you believe is wrong and why you behave
            1t1sam            a.
        You must contact us within 60 days after Iha error appeared on your slalament.
        You must noHry us of any ~nlial errors iQ..miliDg. You may call us, but if you do wo are not required to investigala any
        polential errors and you may have to pay Iha amount in question.                                                                       ·
        While we investiga19 whether or not there has been an error, Iha following are lrue:
            We cannot try to collect the amount in question, or report you as delinquent on that amount. .
            The charge in question may remain on your slalament, and - m!=IY continua lo charge you inlllntst on lhat amount.. But, if
            we determine ffiat we mac:fa a mistake, you will not have lo pay Iha am~nt in question or any inlarest or other fees ralal8cl
            lo thot amount.                                                                                           · _               ·
            While you clo not have lo pay Iha amount in question, you ant r8$p011Sible ~ ~ ...-maifti:ferof)o1sr l:icsl~.
            We can apply any unpaid amount against your credit limit.                                · ._         ··.. - ··· -- _. _               _,
Your lfis6ts If You Arc Diggfjsfied Widt Your Cmdlt Cmyl PimFbaW.                                                        ·,             ·- · · __.
            If you ant dissatisfied wilh the aoods or services lhat you have Pl!rcftased w°" your c:redit card, and you have lried
            in good Faith lo comict Iha proDlam wilh the merchant, you mel)t have lha right'not to pay Iha remaining amount
           cfue on lhe purchase.                                            ~-··--        ··.,,         ···.,,         '·.__      ·--..
            To use lhis right, all of the following must be true: /               ' ··..        ·-..           ·.            '.. .· •
             I . The purchase must have been made in yoyr home stall! or within I 00 mi!ei·of your current mailing ciddrass, and
                 Iha fl'!'Chasa pr!ce must have been more lhaii $5p;· (Note: !)leilher ci~thesa are nee~ if ~r purchase was
                 bas9d on an advertisement wo mailed lo you • oi'if We <iwn !"• com~~ you Iha gciods or services.)
            2. You must have used your credit card for lhe'~rchaS./~acla wRk cash advances &om an ATM or with a
                 check that ac:casses your cracfit canj,ac:co~ . .not qualjfr.                       ·--7
            3. You mustnotyethave fullypai~,lorlhe puri:h?H:>...                   '· ··-. ...__ •·
                 If _all of the crileria above are met~ risl!U i:lissatisltec! with ili'a purchase, contact us iluYJ:iling. at:
                 Discover, PO Box 30945, Sdtt ~ Cily';,UT ~ 13~45
                 While we investi9a1!, Iha sclml' ruleS-~ lo Iha di~ Ql'lldUnt as discussed above. Aller we !lnish our
                 investigation. we will lell. you c:ilJt clecis1on. At lhat point, ifvle lhink you owe an amount and you do not pay we
                 may report you as ~lirtq\ll'nt. ·· .              ('
Payments. You m'1'1 pay a11--c;.. pa1f of )IOl!r Account bOlanc:e at any time. However, yoy must pay at !east Iha Minimum
Payment Due by the P~ant Dua Dcihk Sand ~your ~ent and lhe lop portion of this stalemant in Iha envelope
providac:I. Do not sancfcash. Bt sanding your childt as C!Oic:ribad above, you authorize us lo use information on your check
lo make an electronic fund lranslilr liom .your account at ll(e linanc:ial inslitution indicated on your check or to PfOC8SS Iha
P.Cl'fl'llanf as a check transaction. If payment is processed as an eledronic fund transfer, Iha transfw will ba for the amount of
lh9 check. Whan we use information from your cliec:k lo make an eleclronic fund transfer, funds _may be wilhdrawn 6'om your
account as soon as the same d"ay we raceiya your payment, and you will not receive your check baCk &om your financial
institution.·
The pr:oi:assin9 of your f'Clll!"&nt m?'f be cleJaYed if you sand cash, corras~nca or other Hams with your pa'f"lant, if you
sand Iha payment lo any Osher adclress ·or, if you use an anveloP! Other lhan Iha one provicled. P~enb raceJved in proper
l'orm at our processing. racilityl;>y5l'M local lime on any dovwill ba cracfihld lo your Account as of that day. PCl'fl!lanb
received at our proc~ liictllly afier SPM local lime will &e credited la l(OUr Account as of the nut~- If you have
misplqc~ your9nvelopa, Send your payment to Discover, PO Box610~ Carol Stream, IL60197-6103. Please allow 7-10
dafs for de!ivery. If your payment is returned unpaid, we reserve the riS"t lo resubmit it as an electronic clebit.




                                                                                                                        SEP 24 2013
                                                                                                           DISTRICT COURT DIVISION 1
                                                                                                                JEFFERSON COUNTY
                                                                                                                   0 1NE BLUFF AR
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                                                     DISCeVER
 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 19 of 42



You can wt=ur monthly Minimum Payment Due, or a greater amount that does not exceed your current Account balance,
over the  tele ne or you can setup aulomalic ~Islhrough a cuslomer service representalive by caOing
 1-800.347- 683. Automatic payments will be d8ducted on Ilia Payment Dua Data unless )l9U ~est a recurr!ng ~ant
data (e.g., Iha 15th claY of the mOnth) that occurs barote Y9'!r P!=IY"'ent Due Data. If y_our schedul8d P.CJYl!l&nt daf8 Tails on a
waekana or bank holiday, your payment will be ~assOd the bitsiness day prior ID lhe waekend or bcink holiday. In order
to schedule monthly P.IJYll!llnls bV hilephona, you wiU need this slalament and your bank account information. You wiU be
asked to provide lfui last four (4) digils of the social security number of the primary borrower. By ~iding those numbers as
your alacironic signature, ~u wiU be ~ing to this authorization to allow us anCl your bank to deduct each payment you
i:Mhorize, in the amount selected by you, l'rotii your bank account. You olso authorize us to inilial9 cfebit or ciadit entries to
your bank occount, as al>Cllicable, fo correct an error in the procassing of such ~ent. You can cOIK9I a scheduled
payment !iY phone at 1.$00-347-2683 or ~mail at Discover, PO Bcix 30421, Sidt Lake Cily, UT 8413().()421; however we
must receive llOlice at least three business dciys in advance of the scheduled pay!l!&nt. If your ~enls may vary in amount,
we will tell yoq on each monthlv billing stal8ment when your P9Y'11ent will be made and liow much it will bei. You must ensure
that sufficient li.tnds are available in your bank account, and all lransactions must comply with U.S. law.
You can set aulomatic pcmnenls b: (i) slalament New Balance, (ii) s1atement Minimum Payrr:ient Due, ~ii) slalement Minimum
Payment Due plus a ftxitd Clollar amount, or (iv) a fixed dollar amount. If your scheduled lix8d ~ent is not enough to cover
the Minimum Payment Due as listed on your monthly billing slalement, your scheduled fX!Ylll&nt fOr that monlh will Eie
increased to CCM1r the Minimum Payment Due. If the schecfuled payment is grealer than Ifie Minimum Payment Due, any
excess will ba al>Cllied in accordanCe with your Cardmember Agi:Mment. Ityour scheduled payment is greah!r than the New'
Balance on your billing $lalement, that payment will be processea onlv for Ifie amount of yoiir New Balm1ce. Your automatic
flC;IYlll&nt amount may be lass than the amount indicated on the periodic $lalement based on credits or payments aftar the
Clasing Date.
If you enroll b'f. phone in our automatic payment service, please All-in the following blanks below and ~n the authorization
for your recorai.                                                                                         ·
Amount:     0      Full Pay   0     Min Pay           0  Min Pay+$                           0  FixedPay$,1,;..·---~
Bank Routing #:                                · Bank Account#:                                  · ~requfty:. _ _ _ __
Credit r.-1ing. We may report information about your Account lo credit bureaus. Lala ~ems. missed payments, or
other detaulls on ~ AcCount may be reRac:l9d in Y911r credit report. We normally report tfHi slalvsand p«JY.ment history of
your Account lo credit report!ng agencies aoch month. If 'f!JU believe that our report is inoccurale or i111:0mpiele, ~ wrile
us at the fo0owin9 ac:ldreis: Discover, PO Box 15316, Wilmington, DE 19850-5316. Please indicate your name, aclchss.
home telephone number and Account number.                                                             ·
flGying lntarest: We ~n to impose interest charges on a transaction "'8 or in~ c:harTje·iienr1he.ey we add it to the
daily 6cilance. We continue to im~ interest charges until you pay ih8 total amouilt:.~·owe ys. You can~ paying
interest on Purchases as described below. However, you cannot avoid paying inlllrest on BalaneeTransf.rt_or Cash ·
Advances.                                                                                    ··,
l:fow 1p ~ PQYing.lnl!wtst on Pvrcl1qses ("Grace Period")                   .      .       "•     ••..,_
if Yl)U pCiiCfthe New,alance on your previous billing slatement by the Pa,rnent Due 0ata· shown'an that billi!19 statement, we
wiU not impose interest~ on new Purchases 1 or any poffion of-a nevi Purchase, P.=Sicfby th8'Payment Oiie Dale on your
current bilnng statement. N- Purchases are Purcnases lhGt 6rst ~peor on the current !>illlng stalumont.
I:!""' Wi Apply P'llR"'l!l!I May Impact Your Groc:o Ptjdod '.          .                  ·.    . ;.
if;;u do not pay your New ~i:ilance in IUD each monlh, then; deP.SiKfil!IJ.On the balan~rlo which we apply your payment,
you may not get a grace penod on new Purchases.             · ..     ·             -· ._
How We Calcula lntwest Ch~ - ~.aafc,-;;;-M.«ti~.~&g-tm.{.dons1: We calculate interest~
each billing f)!lriod by 6~ 6guring the "dally balance" for ecir:h Transcrclion C:a19gory. Transac:lion Cdegories indude
standard Purchases. Wndard Casn Adlimc8'and·dilfarerit promotionatbalances, sui:h as Balance Trca'IShn.
How We Figure the Daily Balance fw-W T~ c'alag..,. ·.. · .··
         We start with the beaii}llf'~bal~ for ecl.:h clav. The beainni~g balance for the 6rst day of the biOing period is
         your balance on the JiDt dciy'-of your previous.bilGng period:
         We add any inlllr:eit ch<ll!ies accrved cin the pravious ~s doily balance and any new lransadions and IHs. We
          add any new tr_ansactions or faes as of the later of the Transaclion Data or the first day of the billing period in
         which the lransaclion or.~posted1o your Account.
         We sublract any new cred'lb and'payments.            '
         We mak• olher adjUsaments ~eluding those adjustments required in the "Paying Interest" sectionJ.
How W. fisunt Your Tohll ln""-t Charges ·
         We mulltpty.lbe doilv balcmc.    !Or each Transaction Calago!)'. !'>Y its doily e_eriodic n:da. We do this for each day in
         the biRfns Period,, This gives us the.interest diarges ror eGc:ti Transaction IA!lgOry. To get a dczily periodic rate,
         - divica 1Jie ~that applies Ill the Transaction Category by 365.
         We add up Gil the daily iniiii'!lst charges. The sum is the total interest charge fur !he billing period.
How We lncluda r-s ·· . -
We add Balance liansnirfees lo the cipplicable Balance Transfer Transadion Cale!:lory. We add Cash Aclvance
Fees l'O '!te cmoli~_CaslrAdvance Transaction Categary. We add all other hies1o the standord Purchase
Transaclion CC:d9gory. .
Balance S11bject IO lnlerest Raia. Your stal8ment shows a Balance Subject to lnlarest Rale. It shows this for each
~on category. The Balance Subject lo Interest Role is the average of the daily balances during the billing
period.
Credit Bal-. If your Account has a credit balance. the amount is shown on the front of your billing statement.
A credit balance i1 money lhat is owed lo you. You mc;iy make charges against this amount if your ACl:cunt is
open. We will se~YQ!I a refund of any remaining balance of $1.00 or more ahr 6 months, or as olherwise
required by applicable law.
Far TDD (Telocammunications Device fw the Deafl cusillanee, plecue call l-800-347-7449.
Discover may monitor and/or record telephone calls between you and Discover reprasenlatives for quolity assurance
purposes.
The Discovert>card is issued by Discover Bank, Member FDIC


                                                                                                                    S~P 24 2013
                                                                                                           DISTRICT COURT DIVISION l
                                                                                                             JEFFERSON COUNTY
                                                                                                                   oif'lE 8LOFF. AR
Questions? Visit www.Discover.com or
call 1-800-DISCOVER l 1-800-347-2683).                                                                         DISCeVER
                     Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 20 of 42



                                                                                                                                           Discover More Card
                                                                                                                                            Account number ending
                                                                                                                  Open Date: Dec 16, 2012- Close Dote: Jan 15, 2013
                                                                                                                                           Cordmember Since 2010

                                                                                                                                                               Page 1of4

ACCOUNT SUMMARY                                                              PAYMENT INFORMATION
 Previous Balance                                              $3,511.08         New Balance                                                           $3,511.08
 Payments and Credits                                              $0.00         Minimum Payment Due •                                                      $3,511.08
 Purchases                                         +               $0.00         Payment Due Date                                                   February 10, 2013
 Bolance Transfers                                 +               $0.00                                                                                      $1248.00
                                                                                 • Includes past due amount of:
 Cash Advances                                     +               $0.00
 Fees Charged                                      +               $0.00         Late Payment Warning: If we do not teteive your minimum payment by the date
 Interest Charged                                  +               $0.00         listed above, you may have to pay o late fee of up to $35.00 and your purchase
                                                                                 and balance transfer APRs for new transactions may be increased up to the
 New Balance                                                   $3,511.08
                                                                                 Penalty APR of 24. 99% variable.
   See Interest Charge Calculotion section following the                         Minimum Payment.Warning: ff you make only the minimum payment each
   Transactions section for detailed APR infonnotion                             period, you win pay more in interest and it will take you longer to pay off your
 Credit Line                                                          $0         balance. For example:

 Credit Line Available                                                SO                                           You ..... pay off the     And )QI wiR end up
                                                                                                                   ~~on this                 ~an eslimated fdal
 Cash Advance Credit Line                                             SO                                           5lafeawll m abaut;..      CE._
 Cash Advance Credit Line Available                                   $0                                                  5 ears                     $3 511

 You may be able to avoid interest on Purchases.                                 ff you would' like infonnotion about credit counseling services, coll 1-800-347-1121.
 See reverse for details.

                                                                             REWARDS
  Contad Us Discover.com,,-                                                   · Cashback Bonus®
                                                                                                                                                    Anniversary Month
                      1-800-347-2683                                                                                                                          October
                                                                             ·/ Opening Balance                                                $                 0.00
                                       ··· .....                                New Cashback Bonus This Period                               +$                  0.00
                                                                 ,·             Redeemed This Period                                         -$                  0.00
                                                                                 Cashback Bonus Balance                                        $               0.00
                                                                                 To leam rriore, log in ot Discover.cam




Make Check payable to Discover.
Please fold on the perforation below, detach and ret11m with your payment.
                                                                                                    NOTICE: SEE REVEISE SIDE FOR IMPORTANT INFORMATION


   Paym8nt Coupon                                      ~ PayOnRne            ~ Pay by Phone                       Account number ending in
   Please do not fold, clip. or s1aple,                W Diicover.com        w      1,8()().347-2683
                                                                                                                  Minimum Payment Due                            $3,511.08


  •1dl11 l1111 hI• 111•1 l1 l·l1l 1111 •IiiII11l1II'··1I11 l•1•1•11.1 •••                                         New Balance                                    $3,511.08
                                                           1

                                                                                                                  Payment Due Dote                      February 10, 2013

  DONALD T SNEED
  1605 DISCOVERY DR
                                                                                                                  Amount enclosed                     Is
  WHITE HALL AR 71602-8782


                                                                                                            POBOX61~1LED
                                                                                                            CAROL STREAM IL 60197-6103

    Phone and lntemet payments must be received by SPM ET to be credited as of the same clay.
                                                                                                        11,1111•ul 11 11''u"l···•·•11~R1.~~.f.PJ~.l"".!J'i1\
                                                                                                                          :JtSTRt..; \ COURT olv StaN
    Address, e-mail o~ telephone chcnged? Note chcnges on reverse side.
                                                                                                                                 lEFFERSON COUNTY
                                                                                                                                    ...,....~ SLUFF. AR
     00000198b45037S9b4b7b035110800079000351108
                         Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 21 of 42

  DONALD T SNEED                           Account ••umber ending i1                Open Date: Dec 16, 2012-1...iose Date: Jan 15, 2013                  Page 2 of 4

Important Information                                                               You must ensure !hat sufficient funds ore ovoiloble in your bonk occot1nt, and
                                                                                    all transactions must comply with U.S. law.
See your Cardmember Agreement. Your Cordmember Agreement contains
all the terms of your Account.                                                      You can set automatic payments for: fa) statement New Balance, (ii) statement
                                                                                    Minimum Payment Due, (iii) statement Minimum Payment Due plt1s a filled
Lost or stolen cards. Report immediately! Coll 1-800-347-2683.                      dollar amount, or (iv) Other dollar amount. If }'<!Ur scheduled "Other do!lor
                                                                                    amount" payment is not enough to cover the Minimum Payment Due as lasted
What To Do If You Think You Find A Mistake On Your Statement                        on your monthly billing statement, your scheduled payment for that month
If you think there is an e"or on your statement, write to us at: Discover, PO       will be increased to cover the Minimum Payment Due. ff the schedl.iled
Box 30421, Salt Lake City, UT 84130-0421. You must write to us within 60            payment is greater than the Minimum Payment Due, any excess will be
days after the e"or oppeared on your statement. You may coll us, but if you         opplied in accordance with your Cardmember Agreement. If your scheduled
do we are not required to investigate ony potential errors, and you may have        payment is greater than the New Balance on your billing statement, that
to pay the amount in question. The Billing Rights Notice further explains your      payment will be processed only for the amount of your New Balance. Your
rights. A copy of this notice is available at www.Discover.com.                     automatic payment amount m~ be less than the amount indicoted on the
                                                                                    billing statement bosed on credits or payments after the Close Date.
Payments. You may poy oll or part of your Account balance at any time.
However, you must pay at least the Minimum Payment Due bv the Payment               ff )'OU enroll by phone in our <Momatic payment service, please fill-in lfle
Due Date. Send only your poyment and the bottom portion of this stcrtement          following blanks below and retain the authorization for your records.
in the envelope provided. Do not send cash. If you pay by check, "fOU
authorize us to use information on your check to make an electronic fund            Amount: 0 Full Pay_ _ _OMin Ptiy_ _ _OMin Pay+ $._ _ __
transfer from your account at the financial instiMion indicated on your check
or to process the payment as o check transaction. If a payment is processed
                                                                                    0 Other Amount$                  ; Bank Routing #:._ _ _ _ _ __
                                                                                    Bank Account#_ _ _ _ _ __
as an electronic fund transfer, the transfer will be for the amount of the
check. When we use information from your check to make on electronic fund           Monthly on the 0 Poyment Due Date 0 Close Date
transfer, funds may be withdrawn from your account as soon as the some
day we receive your payment, and you will not receive your check bock from          0             Doy of month fansert date}
your financiol institution.
                                                                                    Credit Reporting. We may report information about yO\lr Account to ctedit
The processing of your poyment may be delayed if you send cash,                     bureaus. Late payments, missed payments, or other defoults on your Account
correspondence or other items with your poyment, if you send the payment to         may be reflec:tecl in your credit report. We normally report the status and
any other address or if you use an envelope other than the one provided.            poyment history of your ACcount to credit reporting agencies each month. If
Payments received in proper form at our processing facility by 5PM local time       you beffeve that our report is inaccurate or incomplete, please write us at the
on any day will be credited to r_our Account as of that day. Payments received      fOllowing addtess: Discover, PO Box 15316, Wilmington, OE 19850-5316.
at our processing facility after SPM local time will be credited to yoUr Account    Please i~lude your ·name, address, home telephone number and Account
as of the next day. If you hove misplaced your envelope, send your payment          number. --....·
to Discover, PO Box 6103, Carol Stream, IL 60197·6103. Please allow 7·10
days for delivery. ff your payment is returned unpaid, we reserve the right to      Paying lrlterest. Your due dote is at least 25 days after the dose of eoc:h
resubmit it as an electronic debit. ·                                               billirig period (at least 23 days for billing periods that begin in February}. We
                                                                                    will not charge you any interest on Purchases if you pay your entire balance
You can pay your monthly Minimum Payment Due, or a greater amount that              by the due dote each month. We will begin charging interest on Cash
does not exceed your current Account balance, over the telephone or you. con        Advances ond Balance Transfers as of the later of tlie Transaction Date or the
setup automatic f)oy111ents through a customer service representoti¥e by ·          first day of the billing period in which the transaction posted to your Account.
calling l-800-347-2683. Automatic ~nts for the baring p,eriod shown .
on your statement will be deducted on the l~aymerit. Due Date shown on- that/       How We Calculate Interest Charges. We Use the Daily Balance Metliod
statement, or the next automatic payment dat~ referred to.on your statenient,       (including current tronsoctians) to calculate the Bolance Subject to lntetest
unless you request a recurring pa~date (e.g., the lS"' day of'tfie month)           Rate. For more information, please coll us at 1-800-347-2683.
that occurs before your Paymen)'.Due Dote''Or Cl6se Datt!-•.If Y9Ur scheduled
poyment date falls on a weekerid or .bQnk holiday, your PoYment wiU be              Balance Subject to Interest Rate. Your statement shows a Science Subject
processed the business dav. priorlll)the \weekend or bdnk holidoy.·ln order to      to Interest Rote. It shows this for each tronsodion category. The Bolance
schedule monthly poyme~ by te'tephone, yqu will need this statement and             Subject to Interest Rate is the overage of the doily balances during the billing
your bank account information. You-wilf be asked to provtcfe·the lost four (4)      period.
d"igits of the social sec:urity number of the primary bQ·rrower. By providing
those numbers as your eledronii: signotur"'e;-yo~ _will be agreeing to this         Credit Balances. If your Account hos a credit balance, the amount is shown
authori:r.otian to allow us and your bonk to·dedud each payment you                 on the front of your billing stotement. A credit balance is money thot is owed
authorize, in the amount selected by yqu, from your bank account. You also          to you. You may make charges against this amount if your Account is open.
authorize us to initiate debit or credit el1tries to your bank account, as          We will send you a refund of any remaining balance of $1.00 or more after
applicable, to correct an error in the proeessing of such payment. You can.         6 months, or as otherwise required by applicable low, or ypan requesl made
cancel a scheduled payment by phone crt l-800-347-2683 or by moil at                to the address in the Contact Us section on page 3 of your billing stotement.
Discover, PO Box 30421, Salt Lake City, UT 84130-0421; however, we must
receive notice at least three business days in advance of the scheduled             Discover moy monitor and/or record telephone calls between you and
payment. If your payments may vary in amount, we will tell you on each              Discover representatives for quality assurance purposes.
monthly billing statement when your payment will be made and haw much it
will be.                                                                            The Discover@ card is issued by Discover Bonk, Member FDIC. TL23N




   CHANGE OF ADDRESS
       If co"ect on front, do not use. Please print dearly in blue or black ink, in the space provided.

       Street Address                                                                    Home Phone


                                                                                         Work Phone


      City                                                                               Email


      State, Zip


  To make changes to your address, email or telephone number, visit Discover.com                                                 SI!:? 24 2013
                                                                                                                      ;)'STRICT COURft>MSl"Otf'\pcge
                                                                                                                           JEFPERSON COUNTY
                                                                                                                              011\JF. 0LUFF. AR
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                                                                                                                                                      Discover More Card
                                                                                                                                                         Account number ending :
                                                                                                                                    Open Date: Dec 16, 2012 - Close Dote: Jan 15, 2013
                                                                                                                                                                          Page 3 of 4


CONTACT US
  ~Web
  W  Access your
          account securely
          at Discover.com


Transadions
                               •    Trans. Date
                                                Mobile
                                                Manage your
                                                account anytime,
                                                anywhere at
                                                m.Discover.com


                                                                Post Date
                                                                                                           Phone
                                                                                                           1-800-0ISCOVER
                                                                                                           (1-800-34 7-2683)
                                                                                                           TOD 1-800-347-7449
                                                                                                                                ft
                                                                                                                                W
                                                                                                                                         Inquiry
                                                                                                                                         Discover··.
                                                                                                                                         PO Box 30C143
                                                                                                                                                         A
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                                                                                                                                         Solt Lake City •.
                                                                                                                                         UT 84130
                                                                                                                                                             ·
                                                                                                                                                                 Mail Payments
                                                                                                                                                                 Discover
                                                                                                                                                                 PO Box 6103
                                                                                                                                                                 Carol Stream
                                                                                                                                                                 IL 60197-6103




Fees                                                                                     TOTAL FEES FOR THIS PERIOD                                              $                 0.00

Interest Charged                                                                         TOTAL INTEREST FOR THIS PERIOD                                           $                0.00

2013 Totals Year-to•Date
                                                                                         TOTAL FEES CHARGED IN 2013                                               $                o.oo
                                                                                         TOTAL INTEREST CHARGED IN 2013                                           $                0.00
Interest Charge Calculation                                                                            ·
Yaur Annual Percentage Rote (APR) is the annuql                  ~mtereSt rate on yo~; accourrt-.,
Current Billing Period: 3 l doys
                                                                    ·                ANNUAL PERCENTAGE RATE                     BALANCE SUBJECT TO
TYPE OF BALANCE                                                         ·•.          (APR)                                      INTEREST RATE                    INTEREST CHARGE
Purchases                                                                            19.99'lf. v                                $0.00                            $0.00
Cash Advances                                                                        23.99'16.,v                                $0.00                            $0.00
                                                                                         '•   ·,,../
V"'Variable Rate
                             ---.                                             .   ._,.



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                                                                                                                                   SEP 24 2013
                                                                                                                    NOTICE: SEE R~~~~RMATION
                                                                                                                                             i=>INE BLUFF. AR
                 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 23 of 42

DONALD T SNEED                 Account ..umber ending i                Open Date: Dec 16, 2012 - '-'°se Date: Jon 15, 2013     Poge 4 of 4




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                                                                                                                 SEP 24 2013
                                                                                                       DISTRICT COURT DIVISION I
                                                                                                          JEFFERSON COUNTY
                                                                                                            PINE BLUFF,. AR
                    Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 24 of 42



                                                                                                                                   Discover More Card
                                                                                                                                    Account number ending
                                                                                                                 Open Dote: Jan 16, 2013-Close Dote: Feb 15, 2013
                                                                                                                                          Cordmember Since 2010

                                                                                                                                                          Page 1of4
ACCOUNT SUMMARY                                                            PAYMENT INFORMATION
 Previous Balance                                      $3,Sl 1.08              New Balance                                                        $3,493.14
 Payments and Credits                                     $17.94               Minimum Payment Due •                                                  Sl,389.00
 Purchases                                +                 so.co              Payment Due Dote                                                  March 10, 2013
 Balance Transfers                        +                $0.00
                                                                               • Includes past due amount of:                                         $1319.00
 Cash Advances                            +                $0.00
 Fees Charged                             +                $0.00               Late Payment Warning: If. we do nOt recei'oe your minimum payment by the dote
 Interest Charged                         +                S0.00               listed above, you may have lo pay o late fee of up tO $35.00 and your purchase
                                                                               and balance transfer APRs for new transactions may be increased up to the
 New Balance                                           $3,493.14
                                                                               Penolty APR of 24. 99% variable,
   See Interest Charge Calculation section following the                      Minimum Payment Warning: H you make only the minimum payment each
   Transactions section for detailed APR information                          period, you will pay mote in interest and it will take you longer to pay off your
 Credit Line                                              $3,000               balance. For example:             ·
 Credit Line Available                                         $0
 Cash Advance Credit Line                                   $300
 Cash Advance Credit Line Available                            $0
 You may be able to avoid interest on Purchases•.                             II ~u woulcf·ti.ke information obaut credit counseling services, call 1-B00-347-1121.
 See reverse for details.

                                                                           REWARDS
   Contact Us Discover.com                                                                                                                     Anniversary Month
                                                                            · .Cashbadc Bonus®
              1-800-347-2683                                          •.     /'                                                                          October
'-------------------                                                       ·/ Opening Balance                                              $                0.00
                                                                              New Coshback Bonus This Period                           +$                   0.00
                                                                              Redeemed This Period                                     -$                   0.00
                                                                              Cashback Bonus Balance                                     $                0.00
                                                                              To leam more, log in at Discover.com




Make Check poycble to Discover.
Plean fold on 1he perforation below, detach and relum with your payment.                         NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION

                                                                                                                                                                      :\
   Payment Coupon,                   .        ~     PayOnline              ~ Pay by Phone·                      Account number ending in
   Please clO not fuld, clip or 51aple.       W     Discover.com           w     1-8003.47-2683
                                                                                                                Minimum Payment Due                        Sl,389.00
                                                                                                                New Balance                                $3,493.14
                                                                                                                Payment Due Date                      March 10, 2013
  DONALD T SNEED
  1605 DISCOVERY DR                                                                                             Amount endosed                   Is                   I
  WHITE HALL AR 71602-8782




    Phone and lntemet payments must be received by SPM ET to be aedited os of the some day.
    Addtess, e-mail or telephone chongecl? Note changes on reverse side.


    00000198b4S03759b4b7b0349314000bb000138900
                         Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 25 of 42

   DONALD T SNEED                          Account number ending ir                  :>pen Dote: Jon 16, 2013 - 1...1ose Dote: Feb 15, 2013               Page 2 of 4

lmportont lnformo1ion                                                                You must ensure that sufficient funds ore available in your bank account, and
See your Cordmember Agreement. Your Cardmember Agreement contains                    all transactions must comply wilh U.S. low.
all tlie terms of your Account.
                                                                                     You con set automatic payments for: (i) statement New Balance, (ii) statement
Lost or stolen cards. Report immediately! Coll 1-800-347-2683.                       Minimum Poyment Due, (iii) statement Minimum Payment Due plus a fixed
What To Do If You Think You Find A Mistake On Your Sto1ement                         dollar amount, or fiv) Other dollar amount. If your scheduled "Other dollar
If you think there is an error on your statement, write to us at: Discover, PO       amount" pQyment is not enough to cover the Minimum Payment Due os listed
Box 30421, Salt Lake City, UT 84130-0421. You must write to us within 60             on your monthly billing statement. your scheduled payment for that month
days after the error appeared on your statement. You may call us, but if you         will be increased to cover the Minimum Payment Due. Kthe scheduled
do we are not required to investigote any potential errors, and you may hove         payment is greater than the Minimum Payment Due, any excess will be
to pay the amount in question. The Billing Rights Notice further explains your       applied in accordance with your Cardmember Agreement. If your scheduled
rights. A copy of this notice is available at https://discover.com/billingrights.    payment is greater than the New Bolance on your billing statement, that
                                                                                     payment will be processed only for the amount of your New Balance. Your
Payments. You may pay all or port of your Account balance at any time.               automatic payment amount m~ be less then the amount indiccrted on the
However, you must pay at least the Minimum Payment Due by the Payment                billing statement based on credits or payments ofter the Close Date.
Due Date. Send only your payment and the bottom portion of this statement
in the el'M!lope provided. Do not send cash. ff you pay by check you                 ff you enroll by phone in our automatic payment service, please fill-in the
authorize us to use information on your check to make on electr~ic fund              following blanks below and retain the outhori~ation for yeur records.
transfer from your account at the financial institution indicated on your check      Amount: DFull Pay_ _ _OMin Pay                  0Min Pay+ s_____.
or to process the payment as o check transaction. Ko payment is processed
os on eledronic fund transfer, the transfer will be for the amount of the            0 Other AmourrtS                  · Bonk Routing ti:
check. When we use information from your check to make an electronic fund            Bank Account fl                                     -------·
transfer, funds may be withdrawn from your account os soon as the same
day we receive your payment, ond you will not receive your check back from           Monthly on the 0 Payment Due Date 0 Close Dote
your financial institution.                                                          0             Day of month [Insert date)
The processing of your payment may be delayed if you send cash,                      Credit Reporting. We may report information about your Account to credit
correspondence or other items with your payment, if you send the payment to          bureaus. Late payments, missed payments, or other defaults on your Accourrt
any other address or if you use on envelope other than the one provided.
Payments received in proper form at our processing facility by 5PM tocol time        may be reflected in your credit report. We normally report the slatus and
on any day will be crecfrted to your Account as of that dO)'. PQyments received      payment history of your Account to credit reporting agencies each month. If
                                                                                     ~ believe that our report is inaccurate or incomplete, please write us at the
at our processing facility after 5PM local time will be credited to your Acc0unt     following address: Discover, PO Box 15316, Wilmington, DE 19850-5316.
as of the next day. If you hove misplaced your envelope, send your payment           Please include yout name, address, home telephone number and Account
ta Discover, PO Box 6103, Carol Stream, IL 60197·6103. Please allow 7-10
days fo! ~ivery. ff your e~nt is returned unpaid, .we ~rve the right to              number.      ·
resubmit it as an electronic debit. Payments mode onhne or by phone will be          P~ing Interest. Your due date is at least 25 days ofter the dose of each
crecfrted as of the day of receipt if mode by 5 PM Eastern time. ·            ·
                                                                                     billing period (ot least 23 days for billing periods that begin in February). We
You can pay your monthly Minimum Payment D~{oro gr-r o~nt that                       will not charge you any interest on Purchases if you pay your entire balance
does not exceed your current Account balance, .fi.ter tf:w telephon.e or }'dU can    by !he due date each month. We will begin charging interest on Cash
setup automatic payments through a customer servi!» repr95entotive by ·,.            Advances and Bolance Tronsfers as of the later of the T ronsaction Dote or the
colling 1-B00-347-2683. Automatic p~ fo.rfl!e billirllfperiod·shown .                first day of the billing period in which the transaction posted ta your Account.
on your statement will be deducted on the'-P~ Due'!>ate-Shown (in that · ·
statement, or the next automatic payment cfate refe'ned to on your state~            How We Calculate Interest Charges. We Use the Doily Balance Method
unless you request Q recurring poyit!~dote    re.a .•   the 15"' day of the month)   fincluding current transactions) to colculote the Bolanee Subject to Interest
                                                                                     Rate. For more information, please coll us at 1-800-347-2683.
that occurs before your Payment i;iue Doie.or Crose Do(a, If yoyr scheduled
payment date falls on a weeken8 or bank hOJidoy,your ~ will'be
processed the business day prior to-11le'weekend or !lank holidOY,An order to        Balance Subject to Interest Rote. Your statement shows a Balance Subject
schedule monthly payment$ by ~phone, yoiJ will need-this stat&ment and               to Interest Rate. It shows this for each transodion category. lhe Balance
Yf?U.r bank occo~nt info'"!"o'tion· YoU. wilt'be ~~ to proVid!"ihe lost four (4)     Subject to Interest Rate is the overage of the doily balances during the billing
digits of the social security nu~ber oHhe primo,Ybom>wer. By providing               period.
those numbers as your electron1G..sign~~u will be agreeing to this
authorization to allow us and you°rbonk tb.dedoct.eai.:fi payment you                Credit Balances. If your Account hos a credit balance, the amount is shown
authorize, in the amount selected by~. frem your bank account. You also              on the front of your billing statement. A credit balance is money that is owed
outh?rize us to initiate debit or .credit enlfies !0-your bank account, as           to you. You may make charges against this amount if your Account is Of>en.
applicable, to correct an error in the proC:esst~ of such. payment. You con          We will send you a refund of any remaining balance of Sl .00 or more o~er
cancel a scheduled payment by phone at T-800-347-2683 or by moil at                  6 months, or as otherwise required by applicable low, or Upclfl request mode
Discover, PO Box 30421, Salt Lake City, UT 84130-0421; however we must               to the address in the Contact Us section on page 3 of your bilring statement.
receive notice at least three business days in odvonc:e of the scheduied             Discover may monitor and/or record telephone calls between you and
payment. ff your payments may vary in amount, we will tell you on each               Discover representatives for quality assurance purposes.
monthly billing statement when your payment will be made and how much it
will be.                                                                             The Discover@ card is issued by Discover Bonk, Member FDIC. Tl23N




   CHANGE OF ADDRESS
      If correct on front, do not use. Please print clearly in blue or block ink, in the space provided.

      Street Address                                                                      Home Phone


                                                                                         Work Phone


      City                                                                                Email


      State, Zip                                                                                                                  SE.P 24 2ti13
                                                                                                                                                TD\Vl&tON \
  To make changes to your address, email or telephone number, visit Discover.com                                             JEFFERSON CQU
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                  Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 26 of 42



                                                                                                                                        Discover More Cord
                                                                                                                                          Account number ending in
                                                                                                                      Open Date: Jan 16, 2013 - Close Dote: Feb 15, 2013
                                                                                                                                                           Page 3of 4
                                                                                                                                  /

CONTACT US
  ~Web
  W       Access your
          account securely
          at Discover.com


Transactions
                                 •             Mobile
                                               Manage your
                                               account anytime,
                                               anywhere at
                                               m.Oiscover.eom


                                      Trans. Date      Post Date
                                                                                             Phone
                                                                                             1-800-0ISCOVER
                                                                                             (1-800-347-2683)
                                                                                             TDD 1-800-347-7449
                                                                                                                  0        Inquiry
                                                                                                                           Discover
                                                                                                                           PO Box30943
                                                                                                                           Salt Lake City
                                                                                                                           UT 84130
                                                                                                                                          A   Mail Payments
                                                                                                                                          ~Discover
                                                                                                                                              PO Box 6103
                                                                                                                                              Carol Stream
                                                                                                                                              ll 60197-6103



Payments and CredilS                  Feb 14           Feb 14                  WALLET PROTECTION SETTI.EMEN-T REFUND                              $              -17.94
                                                                                (800)347-5538
Fees                                                                           TOTAL FEES FOR THIS PERIOD                                         $                0.00

lnteNst Charged                                                                 TOTAL INTEREST FOR THIS PERIOD                                    $                0.00


2013 Totals Year-to-Date
                                                                               T~TAL.fEES  CHARGED IN ~13                                         $                0.00
                                                                                TOTAL INTEREST CHARGED IN 2013                                    $                0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the pr111ual in~rest ·rate on' your accaUnl~
Current Billing Period: 31 days                                                  '
                                                                         .    A~~AL PERCENTAGE RATE               BALANCE SUBJECT TO
TYPE OF BALANCE                                                                (A~'                               INTEREST IATE                  INTEREST CHARGE
                                                      ,. .··
Purc'-s                                                                        19.~V                              $0.00                          $0.00
Cash Advances                                                                ·. 23.99%   v                        $0.00                          $0.00
                                       '·
V=Vorioble Rote              ......                            /         ,·

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                                                                                                                                 .IEFfERSON COUNTY
                                                                                                      NOTICE: SEE REVERSE SIDE        F6l"i'fr~Mfi1 ~ORMATION
                 Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 27 of 42

DONALD T SNEED                 Account ..umber endinc · -                                        Open Dote: Jan 16, 2013 - '-•ose Dote: Feb 15, 2013       Poge4of 4




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                  Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 28 of 42


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 DISCOVER.
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                                                                                                                                      l ..
                                                                CARDMEMBER AGREEMENT
                                                                                                                                  '   f     :, .


   Thank you for choosing rnscovere card. This Agreement explains the Cllll'ent terms and conditions of your Account The enclosed Pricing Schedufe is part of this
   Agreement Please read this Agreement, including the Pricing Schedille. carefuUy. Keep them for your records. Contact us if you hil\'I! any questions. We have
   indilded a ·oefinmons· section for your refem1ce on page 4.

   ACCEPTAf.'CEOFAGREEMENT
                                   You accept this P.greement if you do not cant!I- your Account within 30 days after receiving a Card. You also aCO!pt this
                                   Agreement ifyou or an Authorized User use the Account. You may, however, rejectthe •AJbitration ofDisputes" section as
                                   eiipfainectin that section.

  CHA~GES TO YOUR AGREEMENT

                                   The rates, fees and terms of this Agreement may change trom time to time. We may add or delete any tenn to· this
                                   Agreement If required by law, we will give you advance written notice of the change(s) and a right ID reject the change(s).
                                  WewilJ~~~any~Minterestcftarge~hibitecfby~

  USING YQUR ACCOUNT
 Permitted Uses                   You may use )'OUr Accaunt for Purchases, Balance Transfets and Cash Advances. You may not use~ for illegal transadioos.

 Authorized Users                 You may request adcfrtional Cards for Authorized Users. You must notify us if you Wish to-cancel the authority of.an Authorized User to use
                                  your Accllunt.

 Joint Accounts                   If your Account is ajoint Account:
                                  • eam of )'OU agrees to be liable inlfrvidually and jointly for the mtire amount owed on the Account; and
                                  • ilflf notice we mail to an address provided by either of you for the Account will seive as notiCl! Ill both of you.
 Checks                           If we provide you wilh Checlcs, we wiO teD you whether we will treat the Chedc as a Purchase. Balance Transfer or Cash Advana!. You may
                                  not use these Checks to pay any amount you owe us.

 Credit Authorizations           We may not authorize atransaction for security or other reasons. We wiU not be liable to you if we decline to authorize atransaction or if
                                 anyone refuses your Card, Chedc or Account number.

 Cred"lt Unes                    We will tell you what )'OUT Account aedit line is. You must keep your         We may inaease or deaease your Account aedit line or your Cash
                                 Account balance below yow Acmunt aedit line. If you do llOf. we               Advance credit line withoot nGtice. We maydelay increasing )'OW'
                                 may request immediate payment.of the amount by which you exceed               available ae~ liy the amount of arrt payment that we rea!ive for up
                                 it We may establish afaNel' aedit line for cash Advances.                     to 10 business~.

FEES lSe!t yuur Pricing Schedufe for Additional Fees}
late Fee                         If you do not paytheMinimum Payment Due by the Payment Due                   Otherwise, the fee is S35. This fee will never exceed the Minimum
                                 Date, we will charge JOU aI.ate Fee. The fee is S25 if you were              Payment Due that was due immed"iate~ prior to the date on which
                                 not charged aI.ate Fee during arrt of. the prior six billing peiods.         the fee was assessed.
Returned Payment Fee             If you make a payment that is not honored by your financW                    bilfing periods. Otherwise, the fee is $35. ThiS fee will never exceed
                                 institlJtion, we will charge you aRetumed Payment Fee even if the            the M'rnimum Payment Due lhat was due immediately prior to the
                                 payment is honored after we re-sufJmit it The fee is $25 if you were         date on which the payment was ret!!"Vus.           E -.......
                                 nilt charged ii Retumed Payment Fee during any or the prior six                       .               lf3'1J..-..t                _._,
Returned Check Fee              We will charge you a Retumed Chedc Fee each time we decline to                Chedc Fee during any of the prior six bi11ing periods. Otheiwise, the
                                honor aChedc. The fee is $25 if you were not charged aReturned                fee is $35. This fee will never exce!~~!ml*-

Research Fee                    We may charge you aResearch Fee of $5 for each copy or abill"mg statement or sales sf1p that 81f51Pl'ijl!~-~tsJPN                                      I
                                request copies in connection with abilling alSjlllte.                                           IEFFERSON CQUNTf
                                                                                                                                                   ".2tNE BLUFF. AR

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~o    Discover Bank, Member FDIC
                   Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 29 of 42



   ANNUAL PERCENTAGE RATES {"APRs•) (See your Pricing Schedule for the APRs. induding Penalty APRs. that apply to your~
   Variable APRs                Your Pricing Schedule may include variable APRs. These APRs are           on the first day of the billing period that begins during the same
                                determined by adding the number of percentage points that we              calendar month that the Prime Rate changes. An increase in the
                                specify to the Prime Rate. Variable APRs wi'fl inaease or deaease         APR will increase your interest d!arges and may increase your
                                when the Prime Rate manges. The APR change will take effect               Minimum Payment Due.
  Penalty APR                   When It Appffes                                                              Rate that is in. effect for the billing period in which. JOU did not
                                Eadt time that you do not pay the Minlnum Payment Due by the                 pay die M"mimum Payment Due by the Payment Due Date.
                                Payment Due Date we may:
                               • terminate any promotional APRs on new transactiol1s; and
                               • increase your APRs f01 new transactions to Penalty APRs.
                               We will not apply a Penalty APR to Cash Advances.
                               How It Affects Your Account                                                We Will Ko1ify You
                               To determine the variable Penalty APR (or a new tranSaction:               We Will notify you of the date a Penalty APR wiU take effect The
                               • We add up to 5additional ~e points to the otherwise                      Penalty APR will only apply to new msactions with a Transaction
                                 applicable APR.                                                          Date inore than 14 da)'5 after we provide the nGlice to yoo.
                               • We set )'Ollr Penally APR based on )'Ollr creditwwtfriless and other    We MayReduce It
                                 lactDrs. These factors incrude your aarent APRs and AaDUnt histmy.      We will ieview your Acmunt from time to lime as required by law
                               • When we lirst determine lhe Penalty APR, we use the Prime               to determine if any Penalty APR should be reduced.


 MAKING PAYMENTS
 Payment Instructions         • You must pay us in U.S. dollars. All d!ecks must be drawn on             • We can accept fate payinents, partial payments or paymems
                                funds on deposit in the U.S.                                               marked "payment in full" er wi1h any other restrictive
                              0 You must pay us for all amounts due on your Account This                   endorsement without losing any of our rights under 1his
                                indudes charges made by Authorized Users.                                  Agreement
                              • We may refuse to accept a payment in aforeign a11rency. If we            • We credit your. payments in accordance with the teims
                                do accept it, we wiU charge your Accnllnt our cost to convert it           contained on your billing statement
                                to U.S. dcllars.                                                         • If you mail your payment to an address other than the address
                                                                                                           designated on your billing statement. there may be a delay in
                                                                                                           processing and cred'lling the payment to your Account

Minimum Payment Due          You may pay the entire New Balance shll'MI on your billing statement       • any Interest Charges and Late Fee shown on your biOing
                             at any time. Each bilfing period JOU must pay at least the Minimum            statement, pfus $20.
                             Payment Due by the Payment Due Date shown on yo111 billing                 The Minimum Payment Due may also include amounts bywhid!
                             statement The M'111imum PayrMlt Due will be any amount past lfile          you exceed your Aa:ount cre<frt fine. However, it will never exceed
                             plus the gieater of:                                                       the New Balance. When we calculate the M'mimum Payment Due,
                             • $40;                                                                     we may subtract from the New Balance certain fees added to J-0111
                             • 2% cf the New Balance shown on your billing statement (plus              Account during the billing period. The Minimum Payment Due is
                                $40 if the New Balance includes a Balance Transfer balance); or         fOl!llded up to the nearest dollar.

How We Apply Payments        We apply payments and aedits at our disaet!on, including in a              billing period. we will generally apply amounts JOU pay that exceed
                             manner most favorable or OOllYl!llient for us. In all cases, we will       the Minimum Payment Due to bi!lana!S with higher Af.Rs before
                             apply payments and credits as required by appficable law. Eadl             balances with lower APRs as of the date we aed'rt your payment


INTEREST OIARGES
How We Calculate Interest    We calculate Interest charges each billing period by first figuring        • We make other adjustments f111duding those adjustments
Cha~es-DailY Balance         the "dally balance" for each Transaaitm CafegOlf, Transaction                required in the "Paying Interest" section).
Metllod (fnduding current    Cat~ indude standard Purchases, standard Cash Advances                     How We Rgure Your Total Interest Charges
transactions)                and different promotional balances. sum as Bi!lance Transfers.             • We multiply the daily balance for eacfl Transaction CategOIJ by
                            How We Figure the Daily Balance for Each Transaction Category                 its dally~rate. We tfothisforead! day in the bilfrng petiod.
                            • We start with the beginning balance for each day. The                       This gives us the interestchillgeS for each Transaction Categoiy.
                                beginning balance for the first day of the bilfmg period is your          To get a daDy periodic rate. we divide the APR that aPIJEes to the
                                balance on the last day of your previous bilfmg period.                   Transaction Categarybyt:\' "l[           T            -·~.D
                            • We add any interest charges accrued on the previous day's daily           • We add up all the daily inliSt    cha1'tlfelmi"1S-te'roif
                               balance and any new transactions and fees. We add any new                  interest charge for the bilnng period.
                                                                                                        How We Include Fees~P !.>
                                                                                                                                                      e 4 2013
                               transactions er fees as of the later of the Transaction Date or
                               the first day of the biHing period in which the transaction or fee       We add Balance Transfer Fees to the         Bilffilice Traiis'lei
                               posted to yaur Account                                                   Transaction Category. ·                 iicOOlrSe DIVISION I
                            • We subtract any new credits and payments.                                 appficable Cash Advance Transa~IGOUNTY
                                                                                                        other fees to tile standard Purchase TralffatfiMlllidfF AR

                                                                                 ·2·
                    Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 30 of 42



   INTEREST CHARGES
  Paying fnterest              When Interest Cltatges Begin                                           the Payment Due Date shown on that biOing statement, we will
                               We begin to impose interest charges on a transaction, fee or           not impose interest dlarges on new Purchases. or any portion of
                               interest charge from the day we add it to the daily balance. We       anew Purdlase. paid by the Payment Due Date on your aurent
                               continue to impose interest charges until you pay the total amount    billing statement. New Purchases are Purchases !hat ffrst appear
                               you owe us. You can avoid paying interest on Pwthases as              on the aarent bilfmg statement
                               desaibed below. Homer, you cannOI avoid paying interest on            How We Apply Payments May Impact Your Grace Period
                               Balance Transfers or Cash Advances.                                   If you do not pay your New Balance in tun each month, !hen,
                               How to Avoid Paying Interest on Purchases (·Grace Period•)            depending en· the balance to which we apply your paJ111ent,
                               If you paid the New Balance on your previous billing statement by     you may not get agrace period on new Purchases.



   OTHER IMPORTANT INFORMATION
  Default                     You are in default ff:                                                 • you faff to comply with the tenns of this Agreemsit or any
                              • you file bankruptcy or another insolvency proceeding is filed by         Agreement with us or an:Affiliate, indud"rng fail"mg to make a
                                you or against you;                                                      required paymeiit when due. exceeding your AcCGunt credit line
                              • we have ii reasonable berref that you are unable or unwilling to         or using your Card or Account for an illegal rransaction.
                                repay your obligations to us;                                        If you are in default, we may declare the entire balance at )'OUT
                              • you die or are legally declared incompetent or incapacitated;        Account immed"rately due and payable without notice.


 Collection Costs             If we use an attorney to collect your A«ounl, we may charge you oor legal costs as permitted by law. These indude reasonable attorneys'
                              fees, court or other collection costs, and fees and costs of any appeal.

 Merchant Disputes         If you have a dispute with a merdlant, you may request aaedit to )'OUT Account If we resolve the dispute in your favor, we wi11 issue ii aedit
                           to your Acoount. You assign to us your claim for the credited amount against the merchant and/or any third~ At. our request, you agree to
                           provide this assignment in writing.

 Automatic BiDing          You may set up automatic bilf111g with amerchant ff your AcCOlUlt number or Card expiration date changes; you authorize us to provide this
 Arrangements              updated information to any such merchant at our discretion. You must contact the merchant airectlyif you wish to stop automatic billing.

 Our Privacy Policy       We send you our Privacy Policy when you open your Account and             • how we safeguard its confidentiaHty and security;
                          annually. Contact us or visit OiSCDVef.com if you would 6ke a copy.       • when it niay be shared with others; and
                          Please read it carefully. It summarizes:                                  • how you can !bnit our sharing of this information.
                          • the personal information we coRect;

Reporting to Credit       We may from time to time review your aedit, employment and                If you believe that information we reported is inaccurate or
Reporting Agendes         income records. We may report !he status and payment history of           incomplete, please write us at Discover, PO Box 15316,
                          your Account to cred"lt reporting agendes and other creditors. We         Wilmington, DE 19850·5316. Please include your name. address,
                          normally report to cred"lt reporting agencies each month.                 home phone number and Account number.

Our Communications        You agree that our personnel may flS!en to or record phone calls          at your expense) to contact you about your Account or to offer you
with You                  between you and our representatives without additional notice             !l(Oducts or setVices that may be of value to you. If you prefer not to
                          to you induamg calls we make to collect debts. We may use any             be contacted in one or mare of these ways, you must 8ther call us
                          med"rum permitted by law induamg ma~ live telephone calls,                at 1-BOO-OISCOVER (1·800-347·2683) orwrite to us at Discover,
                          automated telephone equipment, prerecorded telephone calls,               PO Box 30961, Salt lake C"rty, UT 84131).(1961. Please· include )'Uur
                          e-mail. text messages and caBs to your ceB phone (Which may be            name. address and Acmunt number.

Unauthorized Use          You must notify us immed"rately if:
                          • your Card is lost or stolen; or
                          • you believe someone is using ycur Account or aCard without your permission.

Cancellation of Your
Account
                          o You may cancel your Account You will remain responsible for
                            any amount you owe us under this Agreement
                                                                                                      bolhfilyou~~m~:s:l:am~_D
                                                                                                    • We may catcel. s u s p e n 1 i ' o
                          • Any joint Accountholder may cancel a joint Account However,               without notice.
                                                                                                                                             SEP 24 2913
                                                                                                                                DISTRICT COURT DIV,SION t
                                                                                                                                   JEFFERSON COUNTY
                                                                                                                                            PINE BLUFF. AR

                                                                             . 3.
                    Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 31 of 42




   Purchases and Cash                   If you make aPurchase or Cash Advance in aforeign currency, we             and currency in which the transactioo is made. We use die rate
   Advances in foreign                  will ronvert it to U.S. doUars using arate we choose. This rate wiB        in effect on the ronversion date for the transaction. This rate may
   Currendes                            either be agovernment-mandated rare. agovernment-pubfished                 be cfdferent than the rate in effect on the Transaaion Date for the
                                        rate or the intelbank exchange rate, dtpencfmg on the country              transaction.

   Goveming law                         This Agreement is governed by applicable fedeial law and by Delaware law.

   Severabifrty                         If any part of th~ Agreement is found to be invafrd, the rest of it wiU still remain in effect. However, if the Class Action Waiver in the
                                        "Arbitration of Disputes" section is invafrdated in any proceeding in which you and we are involved, then the "Arbitration of Disputes" sectioo
                                        wiUbevoidwith~to.thatpraceedng.


  Enfordng this Agreement               We may delay.enforcing or not enforce any of our rights under this Agreement without lasing or waiving any of them.

  Assignment of Account                We may sel~ assign or transfer your Account or any portion of it without notice to you. You may not sell, assign or transfer your Acmullt
                                       without first obtaining our prior written ronsent


  CONTACT US
                                       Unless we tell you otheiwise. you can notify us:                           When writing. please indude your name, address, home phone
                                       • by phone at 1·800 DISCOVER (1·800·347-2683) or                           number and Account aumber. You must rontact us wirltin tS days
                                       • in writing to DiscO'lef, PO Box 30943, Salt lake Oty. UT                 after changing your e-mail address. mailing address or phone
                                         84130-0943.                                                              number.

 DERNITIONS
                                       "Account" means your Discover card account.                                "Pricing Schedule" means the document entitled, "Pricing
                                       "Afliffate• means our parent corporations. subsicfraries and              Schedule~ which lists die APRs that apply to your Acrount and other
                                      affiliates.                                                                important infonnation.
                                       "Authorized User• means any person you authorize to use your              "Prime Rate" means the highest rate of interest listed as the U.S.
                                      Account or a Card, whether you notify us or not.                           Prime rate.in the Money Rates seclion of 11re Wall StreetJoumalon
                                      "Balance Transfer" means abalance transferred from another                 the last business day of the month.
                                      aecfrtor to your Acrount                                                   "Purchase• means the use of your Account to purchase or lease
                                      ·card" means any one or more Discover cards issued to you or               goods or services at participating !MfChants.
                                      someone else with your authorization.                                       "We,• •us• and ·our· refer to DiscOYer Bank. the issuer of your
                                      "Cash Advance• means the use of your Account to:                           Card.
                                      • obtain cash from participating automated teller machines.                "You,• "yolU'" or "yours• refer to you and any other person(s)
                                         financial institutions or other locations;                              who are also contractually liable under this Agreement
                                      • purchase lottery tidcets, money orders, casino chips, foreign            "Transaction ,Date" means the date shown on your bilrmg
                                         currency or similar items.                                              statement for a transaction or fee.
                                      "Check" means any check we send to you to access your Account


ARBITAATION
  Agreement to arbitrate. If a d"t5p11te arises between        CLASS ACTION WAIVER. ARBITRATION MUST BE ON                     Your Right to Go To Small Claims Court. We will not
  you and us, either may choose to resolve the cf1Spute        AN INDIVIDUAL BASIS. THIS MEANS NEITHER YOU                     choose to arbitrate any daim you biing in smaR claims
  by binding arbitration, as deSoibed below, instead of        NOR WE MAY JOIN OR CONSOLIDATE ClAIMS IN                        court. However, if such a claim is transferred, removed
 in court. Any daim (except for a daim challenging the         ARBITRATION BY OR AGAINST OTHER CAROMEMBERS,                   or appealed to a different court. we may then choose
 validity or enforceability of this arbitration agreement,     OR LITIGATE IN COURT OR ARBITRATE ANY CLAIMS                   to arbitrate.
 indud"mg the Qass Action Waiver) may be resolved              AS AREPRESENTATIVE OR MEMBER OF ACLASS OR                      Governing law and Rules. This arbitration agieement
 by binding arbitration if either side requests it This       IN APRIVATE ATIORNEY GENERAl CAPACITY.                          is governed by the Federal Arbitration Act (FAA).
includes claims and disputes relating to any other            Only a court. and not an arbitrator, s!Jall determine           Arbitration m                   witht'lt"'!l'f·IQI\;.,...,....
Account or agreement you have or had with us. THIS
MEANS IF EITHER YOU OR WE CHOOSE ARBITRA·
                                                              the validity and effect of the Class Action Waiver. Even        Arbii~~~lf-~~~~~·
                                                              if all parties have opted to litigate a claim in rourt, you     for ihe a      ·on wr e ose in this arbitration
TION, NEITHER PARTY SHALL HAVE THE RIGHT TO                   or we may elect arbitration with respect to any claim           agreement and the procedures of the chosen arbitra·
LITIGATE SUCH CLAIM IN COURT OR TO HAVE A                     made by a new party or any new claims later asserted            tion organization, bOdlofl~iMttltion
JURY TRIAL Al.SO DISCOVERY AND APPEAL RIGHTS                  in that lawsuit                                                 agreement will be fcl!fdmd if'ilrereis"l'lireement
ARE LIMITED IN ARBITRATION.                                                                                                          DISTRICT COURT UIVISION I
                                                                                                                                      I    JEFfERSON COUNTY
                                                                                                                                                  CINE BLUFF. AR
                  Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 32 of 42
                                                                                                     EXHIBIT
                                          ALLEN & WITHROW
                                                  Attorneys at Law
                                                                                               113
                                               12410 Cantrell, Suite 100
Henry "Gus" Allen                              Little Rock, Arkansas 72223                             Mailing Address
Lori E. Withrow                                 www.allenwithrow.com                            Post Office Box 17248
Colton Gregory                                                                                  Little Rock, AR 72222
Gary J Barrett: of counsel                          (501) 227-2000
Byron Southern: of counsel                         Fax (501) 707-1214                          Toll Free 800-796-7940

                                                  November 12, 2014


        Christopher A. Rittenhouse
        30 l E. 6th A venue
        Pine Bluff, AR 71603



                        Re:        Discover Bank
                                   Donald T Sneed
                                   Balance: $3,639.45

        Dear Donald T Sneed:

                Enclosed please find a Writ of Garnishment that has been filed against you and has been
        sent to your employer for execution.



                                                        Respectfully,




                                                        Lori Withrow

         P.S. If you are the Attorney of record for this Defendant, then this notice is being sent to you and
         not your client.




               This communication is from a debt collector and is an attempt to collect a debt.
                             Any information will be used for that purpose.


         S&A File No. 13-03726-0
        uw
        Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 33 of 42




             IN THE DISTRICT COURT OF JEFFERSON COUNTY, ARKANSAS~. . . .!!!lim. . . . . . . .                        r1
                            PINE BLUFF DIVISION I

DISCOVER BANK                                                                  RESPONDENT/PLAINTIFF

vs.                            CASE NO. PBCV-2013-2064

DONALD T. SNEED                                                                PETITIONER/DEFENDANT

                                             ORDER

        Comes on now the           Petitioner's motion for                                an Order setting

aside        the     Court's   previously          entered               Def-:tul t           Judgment         and

resulting Writ of Garnishment in the above styled matter, and from

the Pleadings and other matters,                   the Court finds that the Default

Judgment and resulting Writ: of Garnishment are hereby set aside

and this matter is retained on the docket as a pending matter.


        IT    IS I   THEREFORE I   ORDERED     AND       DECREED                that        the    previously

encered Default Judgment dated January 24,                                 2014 is set aside,                   as

well as the resulting Writ: of Garnishment filed with this Court on

October 7, 2014 and that chis matter is returned to the docket as

a pending matter.

        IT IS SO ORDERED this         1-i      day of November, 2014.




                                                     C'"!'I""'R.,. C"""UA':t'f"> JlJD E
Prepa!:'ed Sy:                                           M       7~
Chris Rittenhouse ABN: 2013163
Baim, Gunti, Mouser and Wocsham,       PLC
301 East 6th Ave.
Pine Bluff, AR 71601
870-534 2941
8 7 O- 5 3 4 4 7 7 6 ( fax J
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                                                                                          NOV 1 7 2014
                                                                            OISTRICT COURT DIVISiQN r
                                                                                  J5FF=:ASON COUNTY
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                               Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 34 of 42
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                                                                                                                                                  EXHIBIT
                                                                               ALLEN & \X1ITHRO\X'                                        Is       D
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                                                                                     12..+ It) C..i mri.:ll, Sui ti.: 100
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                       Lon l:.. \v'id1nl\\                                            W\\"W .al lei 1wit lw "" .c• 1111             Post Oflicc Box 17248
                       Coh1J1t        Cin.·~nry                                                                                     Little Ifock, Al~ 72222
                       G.1r. J. Barrell: of counsel*                                          (5() 1! 22i-2000                     Toll Free 800-796-7940
                       13;. rem 3<Hllhcrn: of cotmsd                                        F.t). (501) 7!l7-l2l·I                 *Liccns.;d in Missouri


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                       .'01 E. (l!li ;-\\enue
                       Pini.: Bluff AR 71603



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                       Viihrn t:lllling. please ask for a11 account specialist and refer to ~:our fik• number: 13-03726




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                       nur y1n.i· d1..:11t.




                                      This communication is from a debt collector and is an attempt to collect a debt.
                                                    Any information will be used for that purpos1:.
              Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 35 of 42
                                                                                                                     EXHIBIT
                                                                                                             j
               IN THE DISTRICT COURT OF JEFFERSON COUNTY, ARKANS
                                PINE BLUFF DIVISION I                                                                   E
  DISCOVER BANK                                                                                          PLAINTIFF

  v.                                      CASE NO. PBCV-2013-2064


 DONALD T SNEED                                                                                       DEFENDANT

 TifE STA TE OF ARKANSAS TO:
 Simmons First National Bank                                                                              GARNISHEE

                                             WRIT OF GARNISHMENT

 Requesting Attorney:                Lori Withrow, Allen & Withrow
                                     (501) 227-2000
                                     P.O. Box 17248
                                     Little Rock, AR 72222

 Jl.JDGMENT DATE ............................................................ January 24, 2014

JUDGMENT AWARDED .............................................................. $3,493.14
ATTORNEY FEES AWARDED .............................................................. $.00
COURT COSTS AWARDED ............................................................ $158.93
ACCUl\tillLATED INTEREST ............................................................... $.00
GARNISHMENT FILING FEE ........................................................... $10.00
CREDITS APPLIED TOWARD nJDGMENT ................................................... $.00

t AMOUNT OF GARNISHMENT ................................. .                            ................ $3,662.07

tNotice: Before paying final balance, please call Plaintiffs Attorney's Office at (50 I) 227-2000 to ascertain the
correct balance, as interest may have been added to the above balance.

                                       Date:~ Time _ _a.m/p.m.

I, the undersigned, attorney for the Plaintiff. do hereby certify that a copy of the Writ of Garnishment, which
comained a Notice to Defendant, was mailed on              SEP                    by first class mail to the Judgment
Debtor at his residence address, 301 E. 6th Avenue, Pine Bluff. AR 71603, the same day as this Writ is served on
the Garnishee; that if the letter is returned "Undeliverable" by the Post Office, or the residence of the Judgment
Debtor is not discoverable, after a diligent search, a copy of this Writ, containing a Notice to the Defendant, will be
sent by first class mail to the Judgment Debtor at his place of employment, and that if garnishments are filed on this
debt more than twelve (12) months after the original garnishment, a Notice to Defendant will be mailed to the
Judgment Debtor annually. This is an attempt to collect a debt, and any information obtained will be used for that
purpose.

Simmons First National Bank
ATTN: Any Officer
PO Box 7009
Pine Bluff, AR 7160 l

                                                                        i ow (98069)
                                                                 Colton Gregory (201318 l)
                                                                 Gary J Barrett (2000071)
               Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 36 of 42


                                        NOTICE TO THE GARNISHEE

     1. A Judgment has been obtained in this Court against the Judgment Debtor listed in this Writ and
     remains unsatisfied. The Plaintiffbelieves that you are indebted to the Defendant, or have in yot1r
     possession goods, chattels, moneys, credits, or effects belonging to the Defendant.

  2. You are directed to prepare a written answer, under oath, and to file this answer in the Jefferson
  County District Court at 223 E 3rd Ave, PO Box 874 7, Pine Bluff, AR 71611 within thirty (30) days
  from the date in which you are served with this Writ. The written answer should contain a statement
  of what goods, chattels, moneys, credits, or effects you may have in your possession belonging to
  the Defendant and a copy sent to Plaintiff's attorney. Unless you file such written answer within
  thirty (30) days, judgment by default may be rendered against you.

  3. In addition, you are required to answer any further interrogatories that may be asked of you.

 4. Do not pay any money to the Clerk. You should hold the money until a Court order directs you
 to release the money. You will then pay it to the Plaintiff's attorney or agent.

 5. Employer Garnishees are notified that the amount of wages available for withholding for this
 judgment and costs is subject to certain prior claims. Under Arkansas law, income withholding for
 child support has a priority over all other legal processes. Under federal law, the total amount to be
 withheld cannot exceed the maximum amount allowed under§ 303(b) of the Consumer Credit
 Protection Act.

                             NOTICE TO NON-EMPLOYER GARNISHEE

 FAILURE TO ANSWER THIS WRIT WITHIN THIRTY (30) DAYS ORFAILURE OR REFUSAL
 TO ANSWER THE INTERROGATORIES ATTACHED HERETO SHALL RESULT IN THE
 COURT ENTERING A JUDGMENT AGAINST YOU AND YOU BECOMING PERSONALLY
 LIABLE FOR THE FULL AMOUNT SPECIFIED IN THIS WRIT TOGETHER WITH COSTS OF
 THIS ACTION AS PROVIDED BY ARK. CODE ANN.§ 16-110-407.

                                      NOTI<fAWs~~~l~HEE
This Notice to the Employer/Garnishee is required by Ark. Code Ann.§ 16-110-401 and§ 16-110-416.
The garnishment restrictions ofTitle Ill of Consumer Credit Protection Act ( 15 U.S.C. 1673) provides that no Court of
the United States may make, execute or enforce any order ofprocess which provides forthe garnishment ofthe aggregate
dispo~ble ~~s of any individual for any work week in any amount which is in excess of the lesser of any of the
followmg restnctions:
I.        Twenty-five percent (25%) of the individual's disposable earnings for the workweek; or
2.        The amount by which the disposable earnings for the week exceed 30 times the minimum wage under Section
          6 (a)(l) of the Fair Labor Standards Act of 1933, 29 U.S.C. 206, which is presently $7.25 per hour.
On present $7 .25 per hour minimum wage basis, the following is the effect of the statutory Federal restriction on earnings
in a given week.
                  If disposable earnings are $217.50 per week or less, earnings may not be garnished in any amount.
                  If disposable earnings are more than $217.50 per week but less than $290.00 only the amount above
                  $217 .50 is subject to garnishment.
"Disposable earnings" is compensation paid or payable for personal services less any amounts required to be withheld
~~                                                                                                       .

The law also prohibits an employer from discharging any employee because their earnings have been subject to
garnishment for any one indebtedness. The term "one indebtedness" refers to a single debt, re~ardless of the number
oflevies made or creditors seeking satisfaction. Whoever willfully violates the discharge provisions of this law may be
prosecuted criminally and fined up to $1,000.00 or imprisoned for not more than one year or both.
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 The employer must file a written answer under an oath with the Clerk's Office at any time before the expiration of thirty
 (30) days from the date it is served with a Writ of Garnishment, and state what wages or other pro{lerty owing to the
 debtor, if any, it has in its possession at the time of filing the answer. It is not necessary to wait the entire thirty (30) days
 before filing the answer.
 A Writ ofGarnishment issued on any indebtedness shall be in effect as a lien on salaries, wages or other colllP.ensation,
 due at the time of the service of the Writ. The lien so effected shall continue as to subsequent earning until the total
 amount due upon the judgment and cost is paid or satisfied. Such a lien on subsequent earnings shall terminate sooner
 if the employment relationship is terminated or if the underlying judgment is vacated or modified. See Ark. Code Ann.
 § 16-110-415.
 THESE RESTRICTIONS DO NOT APPLY IN THE CASE OF (1) Court orders for the support ofany person: (2) Court
 orders under Chapter Xlll of the Bankruptcy Act: and (3) any debt for any State or Fedei'lil Tax.
 FAILURE TO ANSWER THIS WRIT WITHIN 30 DAYS OR FAILURE OR REFUSAL TO ANSWER THE
 INTERROGATORIES ATTACHED HERETO MAY AFTER HEARING, RESULT IN THE COURT ENTERING A
 JUDGMENT AGAINST YOU AND YOU BECOMING PERSONALLY LIABLE FOR THE AMOUNT OF THE
 NON-EXEMPT WAGES OWED THE DEBTOR-EMPLOYEE ON THE DATE YOU WERE SERVED THIS WRIT
 AS PROVIDED BY ARK. CODE ANN. SECTION 16-110-407.
                                      NOTICE TO THE DEFENDANT/DEBTOR
                                          GARNISHMENT EXHIBIT "B"
                                 YOUR RIGHT TO KEEP WAGES. MONEY AND
                                 O'i'HER PROPERTY FROM BEING GARNISHED
This Notice to a Defendant/Debtor with reference to garnishment is required by Ark. Code Ann. § I 6-110-402.
The Writ of Garnishment delivered to you with this Notice means that ~~C!> money or other property belonging to you
has been garnished in order to pay a court judgment against you. HOWEVER, YOU MAY BE ABLE TO KEEP YOUR
MONEY OR PROPERTY FROM BEING TAKEN, so READ nns NOTICE CAREFULLY.
State and Federal laws say that certain money and property may not be taken to pay certain types of court judgments.
Such money or property is said to be "exempt" from garnishment.
For example, under the Arkansas Constitution and State law, you may be able to claim as exempt all or part of your
wages or other personal property. See Arkansas Constitution Article 9 and Ark. Code Ann. § 16-66-208.
As another example, under Federal law the following are also exempt from garnishment: Social Security, SSI, Veteran's
benefits, AFDC (welfare), unemployment compensation, worker's compensation.
You have a right to ask for a prompt court hearing to claim these or other exemptions. Such request must be made in
writing. If you need legal assistance to help you try to save your wages or property from being garnished, you should
see a lawyer. If you can't afford a private lawyer, contact you local bar association or ask the Clerk's office about any
Legal Services program in your area.
THIS COMMUNICATION IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.


                                                                    Allen & Withrow
                                                                    Attorneys at Law
                                                                    P.O. Box 17248
                                                                    Little Rock, AR 72222




                                                                    ~~8~)
                                                                    Colton Gregory (2013181)
                                                                    Gary J Barrett (2000071)
           Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 38 of 42
                                ALLEN & WITHROW
                                        Attomeys at Law
                                     12410 Cantrell, Suite 100
Henry "Guan Allen                    Little Rock, Arkansas 72223                      Mailing Address
Lori E. Withrow                       www.allenwithrow.com                     Post Oftice Bos: 172+8
Colton Gregory                                                                 Little Rock, AR 72222
Gary J. Barrett: of counsel*               (501) 227-2000                     Toll Free 800-796-7940
Byron Southern: of counsel                Fax (501) 707-121+                   *Licensed in Missouri

                                        September 10, 2015




Christopher A. Rittenhouse
301 E. 6th Avenue
Pine Bluff, AR 71603




                 Re:     Discover Bank v. Donald T Sneed
                         Case No. PBCV-2013-2064
                         Balance: $3,662.07

Dear Donald T Sneed:

        Enclosed please find a Writ of Garnishment that has been filed against you and has been
sent to Simmons First National Bank for execution


                                                         Respectfully,




                                                         Lori Withrow



P.S. If you are the Attorney of record for this Defendant, then this notice is being sent to you and
not your client.




          This communication is from a debt collector and is an attempt to collect a debt.
                        Any information will be used for that purpose.

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      Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 39 of 42




             IN THE DISTRICT COURT OF JEFFERSON COUNTY, ARKANSAS
                            PINE BLUFF DIVISION I

DISCOVER BANK                                                             RESPONDENT/PLAINTIFF

vs.                             CASE NO. PBCV-2013-2064

DONALD T. SNEED                                                            PETITIONER/DEFENDA.!.~T


                                           ORDER

        Comes on now the Petitioner's motion for an Order setting

aside        t~e      Court's   previot.1sly       entE"red            Default               Judgment         and

resulting Writ: of Garnishment in the above styled matter, and from

the Pleadings and other macters, the Court finds that the Default:

Judgment      and resulting Writ         of Garnishment                  are         hereby set aside

and this matter is retained on the docket as a pending matter.

        IT    IS,      THEREFORE,   ORDERED AND         DECREED             that           the       previously

em:ered Default Judgme:nt dated J::inuary 24,                          2014 is set aside,                      as
well as the resu.lt:ing Wrir. of Garnishmenc. filed with this Court on
October 7,          20JA and that this m.;itt:i:;':r is returned to the docket as

a pending matter.
        IT IS SO ORDERED this           /--Z   day of November, 2014.




                                                    C<F-fRe-tc""'U+:;I;:.c;T
                                                                 ·           JUDGE
l?repared B·y-:                                         f'lJ ":, i-.
C:t:ris Rittenhouse ABN: 201.:.163
Baim, Gun;::i, Mouser and ':lor:sham,   PLC
301 Eas~ 5th Ave.
Pine Bluff, AR 71601
870 ·534 ·2941
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          Case 4:16-cv-00618-BSM Document 3 Filed 08/29/16 Page 40 of 42
                                                                                                EXHIBIT
                                 ALLEN & WITHROW
                                         Attorneys at Law
                                      12410 Cantrell, Suite 100
                                                                                        1        E.
Henry "Gus" Allen                     Little Rock, Arkansas 72223
Lori E. Withrow                        www.allenwithrow.com                     Post
Colton Gregory                                                                  Little Rock, AR 72222
Gary J. Barrett: of counsel*                (501) 227-2000                     Toll Free 800-796-7940
Byron Southern: of counsel                 Fax (501) 707-1214                   *Licensed in Missouri


                                          November 2, 2015




Christopher A. Rittenhouse
30 I E. 6th A venue
Pine Bluff, AR 71603




                 Re:     Discover Bank v. Donald T Sneed
                         PBCV-2013-2064

Dear Christopher A. Rittenhouse:

        Please find enclose Requests for Admissions Propounded to the Defendant and
Interrogatories and Requests for Production with regard to the above-styled matter. Please file
with the Court and return copies of your answers to me.

          Please contact this office should you have any questions or concerns regarding this
matter.


                                                          Respectfully,




                                                          Lori Withrow


Enclosures




          This communication is from a debt collector and is an attempt to collect a debt.
                        Any information will be used for that purpose.

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              IN THE DISTRICT COURT OF JEFFERSON COUNTY, ARKANSAS
                               PINE BLUFF DMSION I

  DISCOVER BANK                                                                          PLAINTIFF

  v.                               CASE NO. PBCV-2013-2064


 DONALD T SNEED                                                                       DEFENDANT


              REOUESTS FOR ADMISSIONS TO DEFENDANT Donald T Sneed
         Comes now the Plaintiff, by and through counsel, Allen & Withrow, and submits the
 following requests for Admission to the Defendant Donald T Sneed, to be answered under oath
 pursuant to Ark. R. Civ. P. 36:
         REOUEST FOR ADMISSION NO. 1:                  Admit that Defendant is a resident of
 Jefferson, Arkansas;
         REOUEST FOR ADMISSION NO. 2:                  Admit that Defendant purchased certain
 items and charged same on the charge account which is the subject of this lawsuit;
         REQUEST FOR ADMISSION NO. 3:                  Admit that the amount past due on said
 account, which has not been paid, and has been owed by Defendant for a period of time is
 $3,493.14;
         REOUEST FOR ADMISSION NO. 4:                  Admit that the monthly statements/bills in
regard to this account were sent to and received by Defendant;
         REQUEST FOR ADMISSION NO. 5:                  Admit that the Defendant never notified
Plaintiff or the original creditor in writing of any dispute in regard to this account (balance);
         REQUEST FOR ADMISSION NO. 6:                  Admit that the Defendant never notified
Plaintiff or the original creditor in writing of any complaints or requests to stop credit on this
account;
         REQUEST FOR ADMISSION NO. 7:                  Admit that Defendant has no documentation
indicating the balance of this account to be less than $3,493.14;
         REQUEST FOR ADMISSION NO. 8:                  Admit that Defendant is indebted to Plaintiff
in the amount of$3,493.14.


You are hereby notified that should you fail to respond to said Requests for Admissions within

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   the thirty days allowed, each of the matters contained herein shall be taken as admitted; and
   should you deny any of the Requests herein, the genuiness or truth of which is hereafter proved,
   application will be made to the Court for an Order requiring you to pay the reasonable expenses
   incurred in making such proof, including a reasonable attorney fee, and jury fees, if any.


                                                        Allen & Withrow
                                                        Attorneys at Law
                                                        P.O. Box 17248
                                                        Little Rock, -~-=..,,..__
                                                          01)        0


                                                        Lori ithrow (98069)
                                                        Colton Gregory (2013181)
                                                        Gary J Barrett (2000071)


                                   CERTIFICATE OF SERVICE

          I, the undersigned, do here~y ~~fy that a copy of the above and foregoing has been sent
 via first-class mail on November~ 2015 to the following:

. Christopher A. Rittenhouse
  301 E. 6th Avenue
  Pine Bluff, AR 71603

                                                        Allen & Withrow
                                                        Attorneys at Law
                                                        P.O. Box 17248



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                                                       LOTi~thro\¥(98069)
                                                       Colton Gregory (2013181)
                                                       Gary J Barrett (2000071)




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